USCA11 Case: 24-11996   Document: 71        Date Filed: 10/02/2024   Page: 1 of 90



                               No. 24-11996

             UNITED STATES COURT OF APPEALS
                FOR THE ELEVENTH CIRCUIT

                            Jane Doe et al.,
                          Plaintiffs-Appellees,

                                       v.

                Surgeon General, State of Florida et al.,
                       Defendants-Appellants.

U.S. District Court for the Northern District of Florida, No. 4:23-cv-114
                              (Hinkle, J.)


         ANSWER BRIEF OF PLAINTIFFS-APPELLEES



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USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024   Page: 2 of 90




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USCA11 Case: 24-11996   Document: 71   Date Filed: 10/02/2024   Page: 3 of 90
      Jane Doe et al., v. Surgeon General, State of Florida et al.,
                             No. 24-11996


CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
             DISCLOSURE STATEMENT

     Per Rule 26.1 and Circuit Rule 26.1, Plaintiffs-Appellees certify

that the following have an interest in the outcome of this case:

     1.    Abdul-Latif, Hussein, Amicus

     2.    Academic Pediatric Association, Amicus

     3.    Ackerman, Scot, Defendant

     4.    Ahmed, Aziza, Amicus

     5.    Alstott, Anne, Amicus

     6.    American Academy of Child and Adolescent Psychiatry,
           Amicus

     7.    American Academy of Family Physicians, Amicus

     8.    American Academy of Nursing, Amicus

     9.    American Academy of Pediatrics, Amicus

     10.   American Association of Physicians for Human Rights, Inc.,
           Amicus

     11.   American College of Obstetricians and Gynecologists,
           Amicus

     12.   American College of Osteopathic Pediatricians, Amicus

     13.   American College of Physicians, Amicus

     14.   American Medical Association, Amicus

                               C-1 of 12
USCA11 Case: 24-11996   Document: 71   Date Filed: 10/02/2024   Page: 4 of 90
      Jane Doe et al., v. Surgeon General, State of Florida et al.,
                             No. 24-11996


     15.   American Pediatric Society, Amicus

     16.   Andersen, Alison, Counsel for Amicus

     17.   Antommaria, Armand, Dekker Witness1Archer, Phil, Former
           Defendant

     18.   Archer, Phil, Former Defendant

     19.   Aronberg, Dave, Former Defendant

     20.   Association of American Medical Colleges, Amicus

     21.   Association of Medical School Pediatric Department Chairs,
           Inc., Amicus

     22.   Baker, Kellan, Dekker Witness

     23.   Bakkedahl, Thomas, Former Defendant

     24.   Barsoum, Wael, Defendant

     25.   Bartlett, Bruce, Former Defendant

     26.   Basford, Larry, Former Defendant

     27.   Beato, Michael, Counsel for Defendants



1 Pursuant to the District Court Final Order (Doc.223 at 2-3), the record

in this case also relies on the “evidence presented during the trial of a
separate case in this court with overlapping issues, Dekker v. Weida,
No. 4:22cv325-RH-MAF.” The Dekker case is on appeal in this Court,
No. 23-12155.



                               C-2 of 12
USCA11 Case: 24-11996   Document: 71   Date Filed: 10/02/2024   Page: 5 of 90
      Jane Doe et al., v. Surgeon General, State of Florida et al.,
                             No. 24-11996
     28. Bell, Daniel, Former Counsel for Defendants

     29.   Benson, Matthew, Defendant

     30.   Biggs, Michael, Dekker Witness

     31.   Blickenstaff, David, Counsel for Amicus

     32.   Boe, Bennett, Former Plaintiff

     33.   Boe, Brenda, Former Plaintiff

     34.   Brackett, John Matthew, Dekker Witness

     35.   Bridges, Khiara, Amicus

     36.   Brodsky, Ed, Former Defendant

     37.   Bruggeman, Brittany, Witness

     38.   Bruno, Nichole, Plaintiff Gavin Goe’s Doctor

     39.   Campbell, Jack, Former Defendant

     40.   Cantor, James, Dekker Witness

     41.   Chriss, Simone, Counsel for Plaintiffs

     42.   Clemens, Jonathan, Witness

     43.   Coe, Carla, Former Plaintiff

     44.   Coe, Christina, Former Plaintiff

     45.   Coffman, Gregory, Defendant

     46.   Cohen, David, Amicus



                               C-3 of 12
USCA11 Case: 24-11996   Document: 71     Date Filed: 10/02/2024   Page: 6 of 90
      Jane Doe et al., v. Surgeon General, State of Florida et al.,
                             No. 24-11996
     47. Cohen, I. Glenn, Amicus

     48.   Creegan, Chris, Defendant

     49.   Cruz Evia, Rebecca, Former Plaintiff

     50.   Cryan, Michael, Counsel for Amicus

     51.   Dalton, Ann, Dekker Witness

     52.   Dandeneau, Debra, Counsel for Amicus

     53.   Dekker, August, Dekker Plaintiff

     54.   Derick, Amy, Defendant

     55.   Di Pietro, Tiffany, Defendant

     56.   Diamond, David, Defendant

     57.   Doe, Jane, Plaintiff

     58.   Doe, Susan, Plaintiff

     59.   Doe, Jane, Dekker Plaintiff

     60.   Doe, John, Dekker Plaintiff

     61.   Doe, Susan, Dekker Plaintiff

     62.   Donovan, Kevin, Dekker Witness

     63.   Ducatel, Watson, Defendant

     64.   Dunn, Chelsea, Counsel for Plaintiffs

     65.   Durrett, John, Former Defendant



                                  C-4 of 12
USCA11 Case: 24-11996   Document: 71   Date Filed: 10/02/2024   Page: 7 of 90
      Jane Doe et al., v. Surgeon General, State of Florida et al.,
                             No. 24-11996
     66. Edmiston, Kale, Dekker Witness

     67.   Endocrine Society, Amicus

     68.   English, Jeffrey, Dekker Witness

     69.   Erchull, Christopher, Counsel for Plaintiffs

     70.   Florida Agency for Healthcare Administration, Dekker
           Defendant

     71.   Florida Board of Medicine, Former Defendant

     72.   Florida Board of Osteopathic Medicine, Former Defendant

     73.   Florida Chapter of the American Academy of Pediatrics,
           Amicus

     74.   Foe, Fiona, Former Plaintiff

     75.   Foe, Freya, Former Plaintiff

     76.   Fox, Amira, Former Defendant

     77.   Galarneau, Charlene, Amicus

     78.   Garcia, Maria, Defendant

     79.   Ginsburg, Maya, Counsel for Plaintiffs

     80.   Gladson, William, Defendant

     81.   Goe, Gavin, Plaintiff

     82.   Goe, Gloria, Plaintiff

     83.   Goldberg, Noah, Counsel for Amicus



                               C-5 of 12
USCA11 Case: 24-11996   Document: 71   Date Filed: 10/02/2024   Page: 8 of 90
      Jane Doe et al., v. Surgeon General, State of Florida et al.,
                             No. 24-11996
     84. Goodman, Kenneth, Witness

     85.   Grossman, Joanna, Amicus

     86.   Grossman, Miriam, Dekker Witness / Third-party

     87.   Haas, Brian, Former Defendant

     88.   Hamel, Lucien, Plaintiff

     89.   Hart, Joseph, Former Counsel for Defendants

     90.   Hartnett, Kathleen, Counsel for Amicus

     91.   Helstrom, Zoe, Counsel for Amicus

     92.   Hinkle, Robert, U.S. District Court Judge

     93.   Hruz, Paul William, Dekker Witness

     94.   Hunter, Patrick, Defendant

     95.   Hutton, Kim, Dekker Witness

     96.   Ikemoto, Lisa, Amicus

     97.   Isasi, William, Counsel for Amicus

     98.   Jackson, Valerie, Defendant

     99.   Jacobs, Arthur, Counsel for Former Defendants &
           Defendant

     100. Janssen, Aron Christopher, Dekker Witness & Witness

     101. Jazil, Mohammad, Counsel for Defendants

     102. Justice, Nicole, Defendant


                               C-6 of 12
USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024   Page: 9 of 90
      Jane Doe et al., v. Surgeon General, State of Florida et al.,
                             No. 24-11996

     103. K.F., Dekker Plaintiff

     104. Kaliebe, Kristopher Edward, Dekker Witness

     105. Kamody, Rebecca, Amicus

     106. Kang, Katelyn, Counsel for Amicus

     107. Karasic, Dan, Dekker Witness & Witness

     108. Kirsh, William, Defendant

     109. Kramer, Brian, Former Defendant

     110. Kuper, Laura, Amicus

     111. Ladapo, Joseph, Defendant

     112. Ladue, Jade, Dekker Plaintiff

     113. Langford, Vernon, Witness

     114. Lannin, Cortlin, Counsel for Amicus

     115. Laidlaw, Michael, Dekker Witness

     116. Lappert, Patrick, Dekker Witness

     117. Larizza, R.J., Former Defendant

     118. Levi, Jennifer, Counsel for Plaintiffs

     119. Levine, Stephen, Dekker Witness & Witness

     120. Loe, Linda, Former Plaintiff

     121. Loe, Lisa, Former Plaintiff


                               C-7 of 12
USCA11 Case: 24-11996   Document: 71   Date Filed: 10/02/2024   Page: 10 of 90
      Jane Doe et al., v. Surgeon General, State of Florida et al.,
                             No. 24-11996

     122. Lopez, Susan, Former Defendant

     123. Lynch, Myles S., Counsel for Defendants

     124. Madden, Ginger, Former Defendant

     125. Mandelbaum, Sara, Counsel for Plaintiffs

     126. Manian, Maya, Amicus

     127. Marstiller, Simone, Dekker Former Defendant

     128. McNamara, Meredithe, Amicus

     129. Minter, Shannon, Counsel for Plaintiffs

     130. Mondry, Emily, Counsel for Amicus

     131. Moody, Ashley, Former Defendant

     132. Mor, Yuval, Counsel for Amicus

     133. Mortensen, Monica, Defendant

     134. Nangia, Geeta, Dekker Witness

     135. National Association of Pediatric Nurse Practitioners,
          Amicus

     136. Nelson, Melissa, Former Defendant

     137. Noel, Olivia, Former Plaintiff

     138. Oberman, Michelle, Amicus

     139. Olson-Kennedy, Johanna, Dekker Witness



                               C-8 of 12
USCA11 Case: 24-11996   Document: 71   Date Filed: 10/02/2024   Page: 11 of 90
      Jane Doe et al., v. Surgeon General, State of Florida et al.,
                             No. 24-11996
     140. Pages, Luz, Defendant

     141. Patel, Ami, Counsel for Plaintiffs

     142. Pediatric Endocrine Society, Amicus

     143. Peral, Stephanie, Former Counsel for Plaintiffs

     144. Percival, James, II, Counsel for Defendants

     145. Perko, Gary, Counsel for Defendants

     146. Pimentel, Eleonor, Defendant

     147. Poe, Patricia, Former Plaintiff

     148. Poe, Paul, Former Plaintiff

     149. Pope, Kai, Former Plaintiff

     150. Popkin, Kelly Jo, Counsel for Plaintiffs

     151. Pratt, Joshua, Former Counsel for Defendants

     152. Pryor, Harold, Former Defendant

     153. Purvis, Dara, Amicus

     154. Rebouche, Rachel, Amicus

     155. Redburn, Thomas, Jr., Counsel for Plaintiffs

     156. Roman, Sven, Witness

     157. Romanello, Nicholas, Defendant

     158. Rothstein, Brit, Dekker Plaintiff


                               C-9 of 12
USCA11 Case: 24-11996   Document: 71   Date Filed: 10/02/2024   Page: 12 of 90
      Jane Doe et al., v. Surgeon General, State of Florida et al.,
                             No. 24-11996

     159. Rundle, Katherine, Former Defendant

     160. Schechter, Loren, Dekker Witness & Witness

     161. Scott, Sophie, Dekker Witness

     162. Shumer, Daniel, Dekker Witness & Witness

     163. Silbey, Jessica, Amicus

     164. Silverman, Lawrence, Counsel for Plaintiffs

     165. Societies for Pediatric Urology, Amicus

     166. Society for Adolescent Health and Medicine, Amicus

     167. Society for Pediatric Research, Amicus

     168. Society of Pediatric Nurses, Amicus

     169. Spektrum Health, Inc., Amicus

     170. Stafford, William, III, Counsel for Defendants

     171. Starr, Jason, Counsel for Plaintiffs

     172. Stoll, Christopher, Counsel for Plaintiffs

     173. SunServe, Amicus

     174. Szilagyi, Nathalie, Amicus

     175. Transgender Health Education Network, Amicus

     176. TransSocial, Amicus

     177. Ulrich, Michael, Amicus


                               C-10 of 12
USCA11 Case: 24-11996   Document: 71   Date Filed: 10/02/2024   Page: 13 of 90
      Jane Doe et al., v. Surgeon General, State of Florida et al.,
                             No. 24-11996

     178. Van Meter, Quentin, Dekker Witness

     179. Van Mol, Andre, Dekker Witness

     180. Vazquez, Paul, Witness

     181. Veroff, Julie, Counsel for Amicus

     182. Veta, D. Jean, Counsel for Amicus

     183. Vigil, Anegla, Counsel for Amicus

     184. Vila, Hector, Defendant

     185. Ward, Dennis, Former Defendant

     186. Wasylik, Michael, Defendant

     187. Weaver, Cynthia, Counsel for Plaintiffs

     188. Weida, Jason, Dekker Defendant

     189. Whitaker, Henry, Counsel for Defendants

     190. Williams, Gregory, Defendant

     191. Witthoeft, Emily, Counsel for Defendants

     192. World Professional Association for Transgender Health,
          Amicus

     193. Worrell, Monique, Former Defendant

     194. Zachariah, Zachariah, Defendant

     195. Zanga, Joseph, Dekker Witness



                               C-11 of 12
USCA11 Case: 24-11996   Document: 71   Date Filed: 10/02/2024   Page: 14 of 90
      Jane Doe et al., v. Surgeon General, State of Florida et al.,
                             No. 24-11996
     Per Circuit Rule 26.1-2(c), Plaintiffs-Appellees certify that the CIP

contained herein is complete.

     Date: October 2, 2024

                                       s/ Thomas E. Redburn, Jr.
                                       Thomas E. Redburn, Jr.
                                       Counsel for Plaintiffs-Appellees




                                C-12 of 12
USCA11 Case: 24-11996             Document: 71         Date Filed: 10/02/2024         Page: 15 of 90



                                TABLE OF CONTENTS


CERTIFICATE  OF   INTERESTED  PERSONS                 AND
CORPORATE DISCLOSURE STATEMENT........................................ C-1

TABLE OF AUTHORITIES ...................................................................... iv

INTRODUCTION ....................................................................................... 1

COUNTERSTATEMENT OF THE ISSUES ............................................. 4

STATEMENT OF THE CASE AND FACTS ............................................. 5

I.     SB 254 AND THE BOARD RULES.................................................. 6

II.    THE DISTRICT COURT FOUND THAT THE STATE OF
       FLORIDA RADICALLY DEPARTED FROM ITS
       ORDINARY     PROCESS                AND              SOUGHT                  A
       PREDETERMINED OUTCOME IN CREATING THE
       GAPMS REPORT .............................................................................. 8

III.   THE DISTRICT COURT FOUND THAT THE MEDICAL
       BOARDS ALSO SIGNIFICANTLY DEPARTED FROM
       THEIR   ORDINARY    PROCESS   AND    WERE
       IMPROPERLY MOTIVATED BY PREJUDICE IN
       PROMULGATING THE CHALLENGED RULES ........................ 13

IV.    THE DISTRICT COURT FOUND THAT THE
       LEGISLATIVE PROCESS WAS SIGNIFICANTLY
       MOTIVATED BY ANTI-TRANSGENDER PREJUDICE ............. 15

V.     THE DISTRICT COURT FOUND THAT THE INFORMED
       CONSENT      FORMS              ARE           INACCURATE                     AND
       MISLEADING AND WERE DESIGNED TO DETER
       TRANSGENDER             PEOPLE                FROM              OBTAINING
       HEALTHCARE, NOT TO FURTHER INFORMED
       CONSENT ....................................................................................... 19

VI.    THE DISTRICT COURT FOUND THAT THE MEDICAL
       CARE PROVIDED TO TRANSENDER ADOLESCENTS
                                                   i
USCA11 Case: 24-11996               Document: 71          Date Filed: 10/02/2024          Page: 16 of 90



        AND ADULTS IS SAFE AND EFFECTIVE, WIDELY
        ACCEPTED BY THE MEDICAL COMMUNITY,
        SUPPORTED BY EVIDENCE GREATER THAN OR
        COMPARABLE TO THAT SUPPORTING MOST OTHER
        MEDICAL  TREATMENTS,    AND  RESULTS                IN
        EXTREMELY LOW RATES OF REGRET .................................... 23

        A.      The District Court Found that Transgender Identity
                Is Innate ................................................................................. 23

        B.      The District Court Found that Gender Dysphoria Is
                A Serious But Highly Treatable Medical Condition ............. 24

        C.      The District Court Found That The Quality Of
                Evidence Supporting Treatment For Gender
                Transition Meets or Exceeds that Supporting Most
                Other Medical Care ................................................................ 26

        D.      The District Court Found That The Protocols for
                Diagnosing And Treating Gender Dysphoria Are
                Comparable to Other Well-Established Medical
                Protocols ................................................................................. 27

        E.      The District Court Found That Regret Following
                Gender Transition Is Rare ..................................................... 28

STANDARD OF REVIEW........................................................................ 29

SUMMARY OF ARGUMENT .................................................................. 30

ARGUMENT ............................................................................................. 32

I.      THE   DISTRICT          COURT              FOLLOWED                   EKNES-
        TUCKER’S DIRECTIVE TO DETERMINE WHETHER
        PURPOSEFUL            DISCRIMINATION                             WAS              A
        MOTIVATING FACTOR FOR FLORIDA’S STATUTE
        AND RULES .................................................................................... 32

II.     THE DISTRICT COURT’S ANIMUS FINDINGS ARE
        SUPPORTED BY SUBSTANTIAL EVIDENCE ............................ 35



                                                     ii
USCA11 Case: 24-11996             Document: 71           Date Filed: 10/02/2024        Page: 17 of 90



       A. The District Court Correctly Applied the Presumption of
            Legislative Good Faith, and Its Finding that the
            Presumption Was Overcome Was Not Clearly
            Erroneous ............................................................................... 35

       B. The District Court’s Finding that the Impact of the
            Statute and Rules Falls Disproportionately on
            Transgender Floridians Was Clearly Correct ....................... 38

       C. The District Court’s Conclusion that the Arlington
           Heights Factors Supported a Finding of Animus Is
           Supported by Substantial Evidence ...................................... 42

          1. Impact, Foreseeability, and Knowledge ................................. 43

          2. Historical Background ............................................................ 44

          3. Sequence of Events Leading to Passage................................. 46

          4. Procedural And Substantive Irregularities............................ 51

          5. Contemporary Statements and Actions of Key
             Legislators .............................................................................. 53

          6. Less Discriminatory Alternatives ........................................... 59

III.   The District Court Properly Held That The Challenged
       Measures Fail Both Heightened Scrutiny And, Because
       They Are Based On Animus, Even Rational Basis Review ........... 61

IV.    The District Court Properly Held That The Challenged
       Measures Violate Plaintiff Parents’ Right to Due Process ............ 65

CONCLUSION ......................................................................................... 66

CERTIFICATE OF COMPLIANCE ........................................................ 68

CERTIFICATE OF SERVICE.................................................................. 69




                                                   iii
USCA11 Case: 24-11996             Document: 71         Date Filed: 10/02/2024       Page: 18 of 90



                              TABLE OF AUTHORITIES
                                                                                            Page(s)

Cases

Adams v. St. Johns County,
  57 F.4th 791 (11th Cir. 2022) (en banc) .............................................. 33

Bellitto v. Snipes,
  935 F.3d 1192 (11th Cir. 2019) ............................................................ 30

Brnovich v. Democratic Nat’l Comm.,
  594 U.S. 647 (2021) .............................................................................. 56

Church of Lukumi Babalu Aye, Inc. v. City of Hialeah,
  508 U.S. 520 (1993) ........................................................................ 58, 59

City of Cleburne v. Cleburne Living Ctr.,
   473 U.S. 432 (1985) ........................................................................ 44, 64

Dekker v. Weida,
  679 F. Supp. 3d 1271 (N.D. Fla. 2023) ........................................ passim

Dobbs v. Jackson Women’s Health Organization,
  597 U.S. 215 (2022) ........................................................................ 40, 41

Doe v. Ladapo,
  Case No. 4:23cv114-RH-MAF ...................................................... passim

Eknes-Tucker v. Governor of Ala.,
  80 F.4th 1205 (11th Cir. 2023) .................................................... passim

Fellowship of Christian Athletes v. San Jose Unified Sch.
   Dist. Bd. of Educ.,
   82 F.4th 664 (9th Cir. 2023) (en banc) ................................................ 59

Fla. Int’l Univ. Bd. of Trustees v. Fla. Nat’l Univ., Inc.,
   830 F.3d 1242 (11th Cir. 2016) ............................................................ 29

Geduldig v. Aiello,
  417 U.S. 484, 496, n. 20 (1974) ............................................................ 41


                                                  iv
USCA11 Case: 24-11996              Document: 71         Date Filed: 10/02/2024         Page: 19 of 90



Greater Birmingham Ministries v. Sec’y for State of
  Alabama,
  992 F.3d 1299 (11th Cir. 2021) .................................................... passim

Hodges v. United States,
  78 F.4th 1365 (11th Cir. 2023) .................................................. 3, 29, 30

Hunt v. Cromartie,
  526 U.S. 541 (1999) ........................................................................ 29, 55

Hunter v. Underwood,
  471 U.S. 222, 227-28 (1985) ........................................................... 37, 61

Jacksonville Branch of NAACP v. City of Jacksonville,
  No. 22-13544, 2022 WL 16754389 (11th Cir. Nov. 7, 2022) ............... 55

Johnson v. Governor of Florida,
  405 F.3d 1214 (11th Cir. 2005) (en banc) ............................................ 33

L.W. v. Skrmetti,
  73 F.4th 408 (6th Cir 2023), cert. granted, 144 S. Ct. 2679
  (June 24, 2024) ..................................................................................... 34

League of Women Voters of Fla. Inc. v. Fla. Sec’y of State,
  66 F.4th 905 (11th Cir. 2023) .................................................... 2, 29, 56

Masterpiece Cakeshop v. Colorado C.R. Comm’n,
  584 U.S. 617 (2018) ........................................................................ 57, 59

Morrissette-Brown v. Mobile Infirmary Med. Ctr.,
  506 F.3d 1317 (11th Cir. 2007) ............................................................ 30

North Carolina State Conf. of NAACP v. McCrory,
  831 F.3d 204 (4th Cir. 2016) ................................................................ 37

Pers. Adm'r of Mass. v. Feeney,
  442 U.S. 256 (1979) .............................................................................. 33

Pullman-Standard v. Swint,
  456 U.S. 273 (1982) .............................................................................. 29



                                                    v
USCA11 Case: 24-11996              Document: 71          Date Filed: 10/02/2024         Page: 20 of 90



Reno v. Bossier Par. Sch. Bd.,
  520 U.S. 471 (1997) .............................................................................. 39

Romer v. Evans,
  517 U.S. 620, 631 (1996) ...................................................................... 63

Sessions v. Morales-Santana,
  582 U.S. 47 (2017) ................................................................................ 62

Thompson v. Sec'y of State for Ala.,
  65 F.4th 1288 (11th Cir. 2023) ............................................................ 61

United States Dep’t of Agric. v. Moreno,
  413 U.S. 528 (1973) .............................................................................. 64

United States v. O’Brien,
  391 U.S. 367 (1968) .............................................................................. 57

Vill. of Arlington Heights v. Metro. Hous. Dev. Corp.,
   429 U.S. 252 (1977) ...................................................................... passim

Washington v. Davis,
  426 U.S. 229 (1976) ........................................................................ 34, 39

Young Apartments, Inc. v. Town of Jupiter,
  529 F.3d 1027 (11th Cir. 2008) ............................................................ 33

Statutes

2023 Fla. Laws ch. 2023-90 ........................................................................ 7

Fla. Stat. § 61.517(1)(c) ............................................................................ 51

Fla. Stat. § 61.534(1) ................................................................................ 51

Fla. Stat. § 286.311 ................................................................................... 50

Fla. Stat. § 456.001(9) .............................................................................. 41

Fla. Stat. § 456.52(2) ................................................................................ 19

Fla. Stat. § 1000.071(1) ............................................................................ 47


                                                    vi
USCA11 Case: 24-11996               Document: 71          Date Filed: 10/02/2024         Page: 21 of 90



Other Authorities

2021 Leg., 123rd Reg. Sess. (Fla. 2021) ................................................... 50

2022 Leg., 124th Reg. Sess. (Fla. 2022) ................................................... 50

2023 Leg., 125th Reg. Sess. (Fla. 2023) ................................................... 50

Fourteenth Amendment ....................................................................... 4, 32

Equal Protection Clause ................................................................... passim

Fla. Admin. Code r. 64...................................................................... passim

House Bill 1069 ......................................................................................... 50

House Bill 1557 ......................................................................................... 50

Senate Bill 254 ........................................................................................ 7, 8

Senate Bill 1028 ........................................................................................ 50

Senate Bill 1438 ........................................................................................ 50




                                                    vii
USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024   Page: 22 of 90



                           INTRODUCTION

     This appeal comes before the Court on a full record established after

two plenary trials. Based on that record, the District Court issued 105

pages of detailed factual findings and legal conclusions. The District

Court cited item after item of evidence establishing that the process that

led to the adoption of medical board rules and, later, a statute banning

or restricting medical care for transgender Floridians was infected from

the outset by discriminatory animus against transgender persons.

     The record included evidence reflecting anti-transgender bias by

decisionmakers at every relevant level of Florida’s government—the

Governor, the Surgeon General, the Legislature and the Boards of

Medicine and Osteopathic Medicine (the “Boards”). Much of that evidence

came from officials’ own publicly-uttered words, but it also included the

manufacturing of a scientifically flawed and biased report specifically

engineered to justify a ban, the flouting of normal rulemaking procedures

to elevate voices opposed to medical care for transgender people, and the

adoption of some of the most extreme restrictions on medical care for

transgender people that have been enacted in any state—going so far as

to impose limitations on the ability of competent adults to seek


                                    1
USCA11 Case: 24-11996    Document: 71   Date Filed: 10/02/2024   Page: 23 of 90



established, widely accepted medical care for no reason other than the

fact that they are transgender.

     In granting a permanent injunction against the statute and rules,

the District Court faithfully applied the presumption of legislative good

faith and found, based on the evidence before it, that the presumption

was overcome in spades. The District Court scrupulously followed this

Court’s directive to examine the record to determine whether the

challenged statute and rules were “a pretext for invidious discrimination”

against transgender Floridians. Eknes-Tucker v. Governor of Ala., 80

F.4th 1205, 1230 (11th Cir. 2023). In so doing, the District Court

considered each of the relevant factors and determined that the evidence

strongly supported a finding that an improper discriminatory purpose

was “a motivating factor” in the adoption of the statute and rules,

requiring application of heightened scrutiny. Vill. of Arlington Heights v.

Metro. Hous. Dev. Corp., 429 U.S. 252, 266 (1977); see also League of

Women Voters of Fla. Inc. v. Fla. Sec’y of State, 66 F.4th 905, 922 (11th

Cir. 2023). The District Court then determined, based on the evidence,

that the ban and restrictions failed intermediate scrutiny because

Defendants’ proffered justifications were “largely pretextual” and offered


                                    2
USCA11 Case: 24-11996   Document: 71   Date Filed: 10/02/2024   Page: 24 of 90



no “rational basis for denying properly screened patients the option to

choose this treatment.” Doe Order at 83, 88.

     Defendants largely treat the trial record, and the District Court’s

meticulous findings, as if they did not exist. They present their own

version of the statute’s and rules’ adoption without noting that the

District Court found, at every turn, that the evidence was contrary to

Defendants’ narrative. Defendants fall far short of demonstrating that

the District Court’s findings fail the clear error standard—their burden

on this appeal. See Hodges v. United States, 78 F.4th 1365, 1374 (11th

Cir. 2023). This burden is a heavy one, and Defendants make no genuine

attempt to meet it.

     A review of the actual record from the two trials, as opposed to

Defendants’ invented narrative, demonstrates that the District Court’s

findings are supported by substantial evidence. The challenged statute

and rules have a stark and obvious disparate impact on transgender

individuals, an impact that was both foreseeable and known to the

relevant decisionmakers. The record demonstrates that the banned or

restricted treatments are safe, effective, and evidence-based, comparable

to other widely accepted medical care. Florida’s ban and restrictions


                                   3
USCA11 Case: 24-11996   Document: 71   Date Filed: 10/02/2024   Page: 25 of 90



represent an abrupt reversal from the State’s prior determination that

these medications are well-established and widely accepted treatments.

The trial evidence established that, at each stage, the rulemaking and

legislative processes were politically motivated, not driven by consumer

complaints or adverse patient impacts, and that the Board processes that

preceded promulgation of the rules involved unprecedented departures

from ordinary administrative practices. The adoption of the challenged

statute and rules was further punctuated by statements from

decisionmakers reflecting overt hostility toward transgender individuals

and false, sensational claims about transgender healthcare, and took

place within a broader context of numerous other laws targeting

transgender people.

     The District Court’s findings are comprehensive, fully supported by

the record, and firmly establish that the challenged statute and rules

reflect an improper discriminatory purpose in violation of the Fourteenth

Amendment. This Court should affirm.

             COUNTERSTATEMENT OF THE ISSUES

     1.    Did the District Court clearly err in finding, based on the

evidence at trial, that a discriminatory purpose was a motivating factor


                                   4
USCA11 Case: 24-11996    Document: 71   Date Filed: 10/02/2024   Page: 26 of 90



in the enactment of Florida’s statute and rules banning medical care for

transgender adolescents and restricting it for adults?

     2.    Did the District Court clearly err in finding that Florida’s ban

and restrictions failed heightened scrutiny and even rational basis

review where the evidence showed the challenged laws undermine rather

than protect the health of transgender people, cause serious suffering

and harm and, absent animus, would not have been enacted?

     3.    Did the District Court clearly err in finding that Florida’s ban

and restrictions violate the requirement of due process where the

evidence showed that they are based on animus and thus fail even

rational basis review?

             STATEMENT OF THE CASE AND FACTS

     This case concerns rules promulgated by the Boards and a law

passed by the Legislature banning medical care for transgender

adolescents and restricting medical care for transgender adults. By

stipulation of the parties, the record in this case includes the entire

record from a seven-day trial in Dekker v. Weida, 679 F. Supp. 3d 1271

(N.D. Fla. 2023), which included testimony from thirteen experts, eight

fact witnesses, and more than 380 trial exhibits. The record additionally


                                    5
USCA11 Case: 24-11996    Document: 71   Date Filed: 10/02/2024   Page: 27 of 90



includes a three-day trial in this case, Doe v. Ladapo, Case No. 4:23cv114-

RH-MAF, consisting of testimony from nine expert witnesses, four fact

witnesses, and more than 130 additional trial exhibits.

     Based on this record, the District Court made detailed findings—

including findings about the credibility of experts and witnesses—to

support its determination that the barred treatments are safe and

effective and that bias against transgender people was a motivating

factor in the enactment of the challenged rules and law. As the District

Court found: “The State of Florida can regulate as needed but cannot

flatly deny transgender individuals safe and effective medical

treatment—treatment with medications routinely provided to others

with the state’s full approval so long as the purpose is not to support the

patient’s transgender identity.” Doe Doc.223 at 10 [hereineafter “Doe

Order”]. The following summarizes the court’s findings.

I.   SB 254 AND THE BOARD RULES

     The initial Board rules prohibited medical providers in Florida from

prescribing puberty blockers and hormones for transgender adolescents.

See Fla. Admin. Code r. 64B8-9.019(1)(b) (March 16, 2023); r. 64B15-

14.014(1)(b) (March 28, 2023). After Plaintiffs filed this action


                                    6
USCA11 Case: 24-11996    Document: 71   Date Filed: 10/02/2024   Page: 28 of 90



challenging those rules, the Florida legislature enacted Senate Bill 254

(“SB 254”), which was signed into law on May 17, 2023. Plaintiffs then

amended their complaint to challenge SB 254 and the additional

emergency rules and informed consent forms subsequently adopted by

the Boards to implement SB 254. See Fla. Admin. Code r. 64B8ER23-7,

64B15ER23-9, r. 64B8ER23-11, r. 64B15ER23-12 (“emergency rules”).

     SB 254 prohibits certain medications when prescribed or

administered to transgender adolescents and restricts these treatments

for transgender adults. Specifically, the law:

  1. Prohibits the use of puberty blockers and hormones to treat
     transgender adolescents, with a limited exception for those
     already receiving these medications prior to the effective date
     of the law;

  2. Restricts the provision of these treatments to transgender
     adults, including: a) prohibiting treatment by healthcare
     providers other than physicians; and b) requiring transgender
     patients to sign government-generated written informed
     consent forms in the presence of a physician;

  3. Directs the Boards to create informed consent forms through
     emergency rulemaking;

  4. Prohibits the use of telehealth to initiate transgender health
     care; and

  5. Imposes civil and criminal penalties for violations of these
     provisions.

2023 Fla. Laws ch. 2023-90 (S.B. 254).

                                    7
USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024   Page: 29 of 90



      The emergency rules that the Boards adopted to implement SB 254

prohibit licensed practitioners from treating transgender adolescents

with puberty blockers or hormone therapies. For transgender adolescents

already receiving these medications, the emergency rules mandate

numerous requirements, such as x-rays and DEXA scans, that serve no

medical purpose. The emergency rules also require patients and parents

to sign lengthy consent forms with government-prescribed language and

impose significant and unprecedented restrictions on the provision of

healthcare to transgender adults.

II.   THE DISTRICT COURT FOUND THAT THE STATE OF
      FLORIDA RADICALLY DEPARTED FROM ITS ORDINARY
      PROCESS AND SOUGHT A PREDETERMINED OUTCOME
      IN CREATING THE GAPMS REPORT

      The District Court found that the legislative and administrative

actions challenged in this case were tainted by impermissible prejudice

against transgender individuals, including significant deviations from

normal procedure. The procedural deviations began well before SB 254

passed, with the creation of the generally accepted professional medical

standards (“GAPMS”) report prepared in 2022 by the Florida Agency for

Health Care Administration (“AHCA”) at the direction of the Executive

Office of the Governor. Doe Order at 48, 52–53.

                                    8
USCA11 Case: 24-11996   Document: 71   Date Filed: 10/02/2024   Page: 30 of 90



     The District Court made detailed findings about the history and

development of this report, which provided the foundation for the Boards’

regulations as well as the Legislature’s enactment of SB 254. See Dekker

Order at 8–10. The State departed from its ordinary process and practice

in developing this report, including—for the first time in its history—

commissioning a new GAPMS report for treatments that were already

covered by Florida Medicaid and that prior GAPMS reports had deemed

to be consistent with generally accepted medical standards. Ordinarily,

AHCA prepares a GAPMS report only when first considering Medicaid

coverage of a new treatment. See Dekker Doc.246 at 8 [hereinafter

“Dekker Order”]; Dekker Pls.’ Ex. 238, Dekker Doc.181-2; see also Dekker

Trial Tr., Doc. 227 at 165. In this case, AHCA had already performed this

analysis and issued a GAPMS report in 2016, concluding that Medicaid

should cover puberty blockers for transgender adolescents, Dekker Order

at 8; Dekker Pl.’s Ex. 240, Doc. 181-4 at 9, and completed a draft GAPMS

report in 2017, reaching the same conclusion with respect to hormone

therapy. Dekker Order at 8–9. Dekker Pl.’s Ex. 243, Doc.181-7 at 1, 11.

     Notwithstanding these existing reports and AHCA’s longstanding

coverage of these treatments, the Executive Office of the Governor


                                   9
USCA11 Case: 24-11996    Document: 71     Date Filed: 10/02/2024   Page: 31 of 90



directed AHCA to conduct a new GAPMS analysis of puberty blockers

and hormones for transgender patients. Doe Order at 68; Dekker Order

at 9. For the first time ever, AHCA elected to prepare another report for

already-approved treatments in order to exclude coverage for those

treatments. Dekker Trial Tr., Doc.227 at 183–84.

     The District Court identified several other, equally significant

departures from the ordinary process. Ordinarily, requests for GAPMS

reports come from providers or manufacturers seeking to obtain Medicaid

coverage for treatments they provide, not from state officials. Id. at 169-

71. In this case, for the first time, the request came from the Office of the

Governor seeking to exclude coverage. Id. at 169–71.

     Similarly, in all prior cases, AHCA prepared GAPMS reports

internally. In this case, for the first time, AHCA retained external

consultants to do so. Doe Order at 68; Dekker Order at 9; Dekker Trial

Tr., Doc.227 at 178–79. In addition, rather than retaining neutral

experts, AHCA deliberately sought out and retained consultants who

were known in advance to have strong views opposing medical care for




                                     10
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 32 of 90



transgender adolescents.2 Jeff English, the AHCA staff person who

ordinarily would have been the person to draft such a report, testified

that this was a radical departure from past practices and that he left his

position rather than collaborate in what he believed to be an unfair and

unprincipled process. Dekker Trial Tr., Doc. 227 at 162–65; Doe Order at

68 (“The person who routinely prepares GAPMS reports was bypassed

and a new, specially selected person was inserted.”). In yet another

departure from ordinary practice, these consultants were also retained to

attend AHCA’s public hearing to rebut comments from members of the

public opposing the State’s actions, which the agency had never done

before. Dekker Doc.120-6, at 177:14–20, 180:12-25; Dekker Doc.120-9, at

120:13-121:10, Dekker Pls’ Ex. 290, Dekker Doc.182-29 at 3–4. See also

Dekker Pls.’ Ex. 296, Dekker Doc.182-36; Doe Doc. 215-1, at 10.

     The District Court further found that the report’s conclusions were

not supported by the evidence and were contrary to generally accepted

medical standards. Doe Order at 68. Based on the medical evidence and


  2 For example, three of those consultants had authored an amicus brief

opposing such care in another proceeding. Dekker Doc.100, Ex.10.
Another consultant had publicly stated that transgender healthcare is a
“lie,” a “moral violation,” a “huge evil,” and “diabolical.” Dekker Order at
4–5; Dekker Trial Tr., Doc.239, at 129–30.
                                    11
USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024   Page: 33 of 90



expert testimony presented in both Dekker and this case, the District

Court found that the “overwhelming weight of medical authority

supports treating transgender patients” with the treatments in question.

Dekker Order at 18. The court noted that the State had failed to identify

“a single reputable medical association [that] has taken a contrary

position.” Id. The GAPMS report led to AHCA passing a rule banning

coverage of these treatments for Florida Medicaid beneficiaries. See Fla.

Admin. Code r. 59G-1.050(7). The District Court concluded that the rule

was adopted after a “well-choreographed public-hearing that was an

effort not to gather facts but to support the predetermined outcome.”

Dekker Order at 10.

     Based on these and other relevant facts, the District Court found

that the new GAPMS process was infected by bias and improperly

designed to reach a predetermined outcome of banning medical

treatments for transgender adolescents, not to undertake a neutral

analysis of the evidence. Doe Order at 68; Dekker Order at 9; see also

Dekker Pls.’ Ex. 296, Doe Doc.215-1, at 10.




                                   12
USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024   Page: 34 of 90



III. THE DISTRICT COURT FOUND THAT THE MEDICAL
     BOARDS ALSO SIGNIFICANTLY DEPARTED FROM
     THEIR ORDINARY PROCESS AND WERE IMPROPERLY
     MOTIVATED BY PREJUDICE IN PROMULGATING THE
     CHALLENGED RULES

     The District Court made detailed findings regarding the significant

extent to the which the Boards departed from their ordinary processes

and were motivated by prejudice against transgender people in

promulgating the challenged rules. Following the issuance of the GAPMS

report, the Surgeon General—whom the District Court found had, “[f]rom

the outset, . . . manifested his opposition to transgender identity”—

directed the Boards to initiate rulemaking to ban healthcare for

transgender adolescents and to restrict it for transgender adults, even

appearing in person at Board meetings to present the petition. Doe Order

at 52–53; Doe Pls.’ Ex. 15, Doe Doc.177-5; Doe Pls.’ Ex. 16, Doe Doc.177-6

at 5–7; Doe Doc.178-1 at 11, 17–18. As the District Court found, “this was

a departure from the usual procedure. So far as this record reflects,

rulemaking had never been initiated this way.” Doe Order at 52–53.

     The District Court found that the Boards’ processes, similarly,

significantly deviated from their ordinary practices. Id. In “another

departure from usual procedure,” a Board member and the Boards’


                                   13
USCA11 Case: 24-11996     Document: 71      Date Filed: 10/02/2024   Page: 35 of 90



Executive Directors “arranged for speakers to oppose gender-affirming

care at the required public hearings.” Doe Order at 53 & n.112 (listing

email communications between Board members and staff arranging for

testimony). The Board even invited several known opponents of

transgender healthcare to participate on the hearing panel to respond to

any commenters who opposed the rule. Dekker Trial Tr., Doc. 240 at 62.

In sum, the District Court found that “the Boards departed from their

usual procedures, orchestrated public hearings, and single-mindedly

pursued the predetermined outcome sought by the Governor and Surgeon

General.” Doe Order at 52.

     The   Boards       subsequently        issued   rules    barring     licensed

practitioners from providing “[p]uberty blocking, hormone, or hormone

antagonist therapies” to adolescent transgender patients. Fla. Admin.

Code r. 64B8-9.019(1)(b); Fla. Admin Code r. 64B15-14.014(1)(b). Later,

following the enactment of SB 254, the Boards promulgated emergency

rules and informed consent forms as required by the statute. The

emergency rules included additional requirements for transgender

adolescents already receiving these medications that, the District Court

found, “have no medical justification and were plainly intended to


                                       14
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 36 of 90



prevent or impede patients from receiving gender-affirming care.” Doe

Order at 53. These included requirements of unnecessary annual hand x-

rays, Fla. Admin. Code r. 64B8ER23-7(4)(f), r. 64B15ER23-9(4)(f), and

annual bone density scans that “no competent provider trained in this

field would prescribe,” Doe Order at 78 (analyzing Fla. Admin. Code r.

64B8ER23-7(4)(g), r. 64B15ER23-9(4)(g)). The Boards also dramatically

restricted the mental health professionals authorized to provide annual

mental health assessments to transgender adolescents, excluding

licensed clinical social workers and other previously qualified mental

health providers. Fla. Admin. Code r. 64B8ER23-7(4)(h), r. 64B15ER23-

9(4)(h). The court found that this exclusion “makes no sense,” “departs

from the accepted standard of care,” and appeared designed to “reduce[]

the ability of patients to receive gender-affirming care.” Doe Order at 80.

IV.   THE DISTRICT COURT FOUND THAT THE LEGISLATIVE
      PROCESS WAS SIGNIFICANTLY MOTIVATED BY ANTI-
      TRANSGENDER PREJUDICE

      Based on a careful review of the entire legislative history and

record, the District Court found the “greater weight of the evidence”

supports a conclusion that a majority of legislators in both houses were

motivated, at least in part, by anti-transgender animus. Id. at 51.


                                    15
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 37 of 90



      The District Court found that just as the administrative

proceedings were shot through with anti-transgender animus, so too

were the legislative proceedings rife with expressions of explicit anti-

transgender bias from the early stages of the legislative process through

passage and beyond. See generally Doe Order at 42–47.

      During legislative hearings on a related bill, one House member

referred to transgender witnesses as “mutants living among us on Planet

Earth.” Doe Order at 42 n. 84. He continued,

      [T]he Lord rebuke you Satan and all of your demons and imps
      that come and parade before us. That’s right, I called you
      demons and imps who come and parade before us and pretend
      that you are part of this world.

Id.

      The District Court found that legislators also repeatedly made

patently false and highly sensationalized claims about “castration,”

“mutilation,” and “sterilization” of children. Doe Order at 45–46. One

House co-sponsor of the bill declared: “[W]e’re talking about taking little

children and they put them to sleep on a gurney. They cut off their

breasts. They sever their genitalia. They throw them in the trash.” Doe

Order at 46. No legislator who voted in favor of the bill expressed

disagreement with this gross mischaracterization, despite it being, in the

                                    16
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 38 of 90



District Court’s words, “about as far removed from reality as any

statement by any legislator ever.” Doe Order at 46.

     The Governor echoed these false and sensational claims, stating

that transgender health care means “castrating a young boy, you’re

sterilizing a young girl, and you’re doing mastectomies for these very

young girls.” Doe Order at 45. Before a joint session of the Florida

legislature, he referred to healthcare for transgender adolescents as

“mutilating” children. Id. Defendants’ attorney acknowledged at trial

that there was no factual basis for these false claims. Doe Trial Tr., Doc.

212 at 272.

     Multiple legislators—including bill sponsors—stated there is no

such thing as transgender identity, calling it “made up,” and repeatedly

indicated that the purpose of the bill was to prevent or discourage people

from being transgender. Doe Order at 43 n.86 (collecting statements). For

example, the House sponsor of HB 1421, referred to transgender

healthcare as “play[ing] ‘choose your own adventure’” and voiced his

belief that transgender identity is delusional, stating, “I can say I’m a

porcupine, but that doesn’t make it so.” Doe Order at 43. Other legislators

voiced similar beliefs, stating, for example, “[W]e cannot speak something


                                    17
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 39 of 90



into existence that doesn’t exist. We cannot change our sex.” Id. Yet

another: “[Y]ou are either male or female. This is not subject to one’s

opinion.” Id. Another statement referred to transgender people as

“mistakes.” Id.

      After the bill passed, a sponsor made clear transgender persons and

their parents are not welcome in the State of Florida, stating: “Just got a

media call for comment on people leaving FL because of my bill making

child castration illegal. My reply? Good riddance. Take your evil

elsewhere. I hear they love mutilating kids in the woke paradise of CA.”

Id. at 46.

      The District Court also noted the Legislature’s simultaneous

enactment of another measure targeting transgender people, which

declared it to be the “policy” of Florida schools that “a person’s sex is an

immutable biological trait” and prohibiting transgender teachers from

using pronouns consistent with their gender identity. Doe Order at 51.

      In sum, based on the entire legislative record, history, and context

leading up to the statute, the District Court found: “This record includes

overwhelming evidence that the House sponsors and a significant

number of other House members were motivated by anti-transgender


                                    18
USCA11 Case: 24-11996    Document: 71     Date Filed: 10/02/2024   Page: 40 of 90



animus. This is clear from their own animus-based statements and from

the failure of other members to call them out. . . . [T]he record also shows,

by the greater weight of the evidence, that a majority of legislators in

both houses and the Governor were so motivated, at least in part.” Id.

V.   THE DISTRICT COURT FOUND THAT THE INFORMED
     CONSENT FORMS ARE INACCURATE AND MISLEADING
     AND WERE DESIGNED TO DETER TRANSGENDER
     PEOPLE FROM OBTAINING HEALTHCARE, NOT TO
     FURTHER INFORMED CONSENT

     Once enacted, SB 254 required the Boards to adopt, on an

emergency basis, informed consent forms for transgender health care.

Fla. Stat. § 456.52(2). The District Court found that the grossly distorted,

inaccurate, and misleading nature of these forms constituted clear

“evidence of the Boards’ animus—of a goal to prevent or impede

individuals from pursuing their transgender identities.” Doe Order at 54.

Relying on the extensive expert testimony at trial, the court found that

the forms were

     untrue and misleading in substantial respects, omit any
     discussion of benefits, address not only risks of treatments a
     patient will receive but also of treatments the patient will not
     receive, include incomprehensible provisions no patient could
     be expected to understand, and are plainly intended to
     dissuade patients from obtaining gender-affirming care, not
     to ensure that patients are fully informed of the relevant risks
     and benefits.

                                     19
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 41 of 90



Id. (emphasis in original).

     The Boards created three forms for adults (one each for

masculinizing medications, feminizing medications, and surgery) and

three forms for adolescents (one each for puberty blockers, masculinizing

medications, and feminizing medications). Id. at 54. The court found that

each of these forms suffered from “similar flaws.” Id. at 55. Rather than

serve as part of an “honest, open [process] intended to convey accurate

information so that the patient can make a fully informed, voluntary

decision,” the forms were “advocacy document[s]—the very antithesis of

what an informed-consent process should be.” Id. at 55–56. For example,

the board member who served as principal drafter3 of the forms deleted

a section from the puberty blockers form that explained the benefits of

these medications, id. at 55, and omitted discussion of the risks of

forgoing treatment. Doe Trial Tr., Doe Doc.212 at 101–02. At trial, she

could not explain her actions. Doe Order at 55 (citing Doe Trial Tr., Doe


  3 The principal drafter, Dr. Mortensen, is a member of the Florida

Board of Osteopathic Medicine. She does not provide care to patients with
gender dysphoria; has conducted no research and authored no
publications about gender dysphoria treatment; received no training in
medical school, her residency, or her fellowship related to gender
dysphoria treatment; and has never diagnosed a patient with gender
dysphoria. Doe Trial Tr., Doc.212 at 87–89.
                                    20
USCA11 Case: 24-11996    Document: 71      Date Filed: 10/02/2024   Page: 42 of 90



Doc.212 at 99). The District Court found that, although the purpose of an

informed-consent form is not “to push the patient toward the physician’s

viewpoint—or the state’s,” the forms make clear the State’s “disapproval

of the proposed treatment[s].” Id.4

     The court found that in addition to pushing this slanted viewpoint

on patients, the forms also contained numerous false statements. For

example, the forms on feminizing medications falsely assert that “[u]se

of these medications,” such as estrogen, “does not have U.S. Food and

Drug Administration (FDA) approval.” Doe Order at 57. The court found

that this statement is simply false, as the FDA has approved these

medications; otherwise, their use would be illegal. Id. Similarly, the form

on feminizing hormone treatments for adults falsely stated that the

patient must be under the care of a licensed mental health care

professional while undergoing treatment. Doe Order at 58; Defs.’ Ex. 6,

Doe Doc.175-6 at 2.



  4 The District Court found numerous examples of the forms presenting

a similarly one-sided narrative. See, e.g., Doe Order at 55–56 (identifying
form provision characterizing research supporting treatments as very
limited and of poor quality without explaining existence of “well-
established standards of care and consensus among all the reputable
medical associations with relevant expertise”).
                                      21
USCA11 Case: 24-11996       Document: 71    Date Filed: 10/02/2024   Page: 43 of 90



      The forms also included passages that, the court concluded, “could

have no purpose other than to discourage patients from proceeding with

gender-affirming care.” Id. at 58. This included a paragraph on

cyproterone acetate—a medication with frightening side effects, such as

tumors and hepatitis—that is neither used nor available in the U.S. and

had no chance of ever being part of a treatment plan for a Florida patient.

Id. (citing Doe Trial Tr., Doe Doc.206 at 181). A similar paragraph on an

alopecia treatment is drafted in “impenetrable language” and requires

the patient to read and consent to a “complex discussion” of a treatment

that the person “is unlikely to receive for a side effect [they] are unlikely

to suffer.” Id. at 59–60.

      The court also found that the unusual length of the forms and the

requirement that patients (or in the case of minors, parents) sign and

initial them upwards of 35 times was further evidence that they were

designed to discourage patients from obtaining care. Defs.’ Exs. 2–7, Doe

Docs.175-2–175-7; Doe Order at 60.

      In sum, the District Court found that these forms “are plainly

designed to discourage gender-affirming care, not to provide accurate

information,” Doe Order at 60, and “were motivated by anti-transgender


                                       22
USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024   Page: 44 of 90



animus,” id. at 61. See also id. at 82 (“[T]he forms are replete with

provisions that serve no valid medical purpose, that interfere with rather

than promote an appropriate informed-consent process, that impose

burdens and costs on patients, and that could have had no purpose other

than to prevent or discourage patients from adhering to their gender

identities.”).

VI.   THE DISTRICT COURT FOUND THAT THE MEDICAL
      CARE PROVIDED TO TRANSENDER ADOLESCENTS AND
      ADULTS IS SAFE AND EFFECTIVE, WIDELY ACCEPTED
      BY THE MEDICAL COMMUNITY, SUPPORTED BY
      EVIDENCE GREATER THAN OR COMPARABLE TO THAT
      SUPPORTING MOST OTHER MEDICAL TREATMENTS,
      AND RESULTS IN EXTREMELY LOW RATES OF REGRET

      A.    The District Court Found that Transgender Identity
            Is Innate

      The District Court found that being transgender is innate, not a

choice. Doe Order at 8. Defendants admit this, as did their only expert

who has treated a significant number of transgender patients. Id.

      The court found that for more than 99% of people, their external sex

characteristics and chromosomes—the determinants of what the District

Court referred to as the person’s natal sex—match the person’s gender

identity. Id. at 7. For less than 1%, the natal sex and gender identity do



                                   23
USCA11 Case: 24-11996     Document: 71    Date Filed: 10/02/2024   Page: 45 of 90



not align, i.e., a person identified as male at birth may have a gender

identity that is female or vice versa. Id. at 8.

      The court credited expert testimony that gender identity is a deeply

felt internal sense of being male or female, not a choice or a product of

external influences. Id. at 7 (citing Dekker Trial Tr., Dekker Doc.226 at

23–24; Dekker Doc.238 at 72–73).

      B.    The District Court Found that Gender Dysphoria Is A
            Serious But Highly Treatable Medical Condition

      The District Court recognized gender dysphoria as a real and

serious medical condition that can develop when transgender individuals

are unable to live consistently with their gender identity. Doe Order at

11, 99; Dekker Order at 16. The diagnosis applies when specific criteria

are met, including a marked incongruence between one’s experienced

gender identity and natal sex for at least six months, manifested in

specified ways, and clinically significant distress or impairment. Doe

Order at 11 (citing Diagnostic and Statistical Manual of Mental

Disorders, Fifth Edition); Dekker Pls.’ Ex. 33, Dekker Doc.175-33 at 2–3);

Dekker Order at 16.

      The court found that gender dysphoria presents substantial health

risks, and failure to treat it can lead to increased anxiety, depression, and

                                     24
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 46 of 90



risk of suicide. Doe Order at 16; Dekker Order at 21. Gender dysphoria is,

however, treatable through an established course of care and treatment

that is widely accepted. Doe Order at 16, 90; Dekker Order at 21; see also

Doe Order at 13 (“The overwhelming weight of medical authority

supports treatment of transgender patients with GnRH agonists and

cross-sex hormones in appropriate circumstances.”).

     For some patients, puberty blockers and hormones are appropriate

treatments, even though, just as with their use to treat other conditions,

these medications have attendant risks. Doe Order at 86–87; Dekker

Order at 19–20. The District Court found that the benefits of treatment

administered in accordance with these well-established standards far

outweighed any of the ordinary range of risks posed by these medications

for the great majority of patients. Doe Order at 15; Dekker Order at 20,

42. The court found these medications “have been used for decades to

treat other conditions,” and “[t]heir safety records and overall effects are

well known.” Doe Order at 14. In addition, the court found that failing to

treat gender dysphoria can lead to anxiety, depression, and suicidal

ideation. Doe Order at 87; Dekker Order at 42.




                                    25
USCA11 Case: 24-11996    Document: 71      Date Filed: 10/02/2024   Page: 47 of 90



     C.    The District Court Found That The Quality Of
           Evidence Supporting Treatment For Gender
           Transition Meets or Exceeds that Supporting Most
           Other Medical Care

     The District Court rejected as “largely pretextual” Defendants’

argument that the evidence supporting transgender health care is of low

quality and therefore insufficient to justify treatment. Doe Order at 83;

Dekker Order at 38. The court found that there is extensive clinical

evidence showing excellent results from treatment with puberty blockers

and hormones. Doe Order at 15, 85. Dekker Order at 40. Even Defendants’

expert acknowledged their efficacy. Dekker Trial Tr., Dekker Doc.239 at

81–83.

     The District Court noted that it is commonplace for medical

treatments to be provided even when supported only by research

producing evidence classified as “low” or “very low” on the Grading of

Recommendations,        Assessment,        Development,      and     Evaluation

(“GRADE”) scale. Doe Order at 84; Dekker Order at 39. Research-

generated evidence classified as “low” or “very low” may nevertheless be

persuasive, and even “the best available, research-generated evidence for

a particular treatment.” Doe Order at 83–84, Dekker Order at 38–39.

Moreover, the court found that evidence on the other side (i.e., showing

                                      26
USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024   Page: 48 of 90



that the transgender treatments at issue here are ineffective or unsafe)

is far weaker than “low” or “very low” quality and, “in fact, is

nonexistent.” Doe Order at 84; see also Dekker Order at 39.

     The record includes unrebutted testimony that only about 13.5% of

accepted medical treatments across all disciplines are supported by

“high” quality evidence on the GRADE scale. Doe Order at 84–85; Dekker

Order at 39–40 (citing Dekker Trial Tr., Dekker Doc.226 at 68–69). In

short, the District Court found that any attempt to ban treatment “based

on the supporting research’s GRADE score is a misuse of the GRADE

system.” Doe Order at 85; Dekker Order at 40.

     D.    The District Court Found That The Protocols for
           Diagnosing And Treating Gender Dysphoria Are
           Comparable to Other Well-Established Medical
           Protocols

     The District Court found that the Endocrine Society Clinical

Practice Guidelines for the Treatment of Gender Dysphoria and the

World Professional Association for Transgender Health (“WPATH”)

Standards of Care are well-established standards for treatment of gender

dysphoria that are widely followed by well-trained clinicians, used by

insurers, and have been endorsed by the United States Department of

Health and Human Services. Doe Order at 11–12; Dekker Order at 16–

                                   27
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 49 of 90



17. Their use was supported by what the court characterized as

“abundant testimony” in both trials. See Doe Order at 11 & n.25 (citing

testimony from multiple experts).

     The District Court rejected Defendants’ assertion that gender

dysphoria is uniquely difficult to diagnose accurately. Doe Order at 92;

Dekker Order at 47–48. The District Court found that the absence of a

physical test for gender dysphoria “does not set [gender dysphoria] apart

from many other mental-health conditions that are routinely diagnosed

without objective tests and treated with powerful medications.” Doe

Order at 92; Dekker Order at 47–48.

     E.    The District Court Found That Regret Following
           Gender Transition Is Rare

     The District Court found that regret following gender transition

treatment is rare. Doe Order at 92; see also Dekker Order at 47; Dekker

Trial Tr., Dekker Doc.238 at 44 (“We also know that the rate of regret—

we know from the scientific literature that the rate of regret for these

sorts of interventions is very small.”); Dekker Trial Tr., Dekker Doc.228

at 56 (identifying, in expert testimony credited by the court, that the rate

of regret among those receiving transgender health care to be 1%).

Despite Defendants’ assertions about the risks of “detransition,” at trial

                                    28
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 50 of 90



“Defendants offered no evidence of any Florida resident who regrets

being treated with GnRH agonists or cross-sex hormones.” Doe Order at

92. “With all the resources available to the State of Florida and the full

range of discovery under the Federal Rules of Civil Procedure, the

defendants could find not a one.” Id.

                        STANDARD OF REVIEW

     Following a bench trial, this Court reviews the District Court’s

conclusions of law de novo and its factual findings for clear error. See

Hodges, 78 F.4th at 1374 (citations omitted). This standard applies to the

ultimate factual question of whether a law reflects a discriminatory

motivation. See League of Women Voters, 66 F.4th at 921, 930; see also

Hunt v. Cromartie, 526 U.S. 541, 549 (1999); Pullman-Standard v. Swint,

456 U.S. 273, 287–88 (1982).

     The clear error standard is “decidedly more deferential” than the

standard applicable to review of a summary judgment order. Fla. Int’l

Univ. Bd. of Trustees v. Fla. Nat’l Univ., Inc., 830 F.3d 1242, 1253 (11th

Cir. 2016). In reviewing the District Court’s findings of fact, this Court

must “draw[] all inferences in favor of the District Court’s decision.” Id.

“Where there are two permissible views of the evidence, the factfinder’s


                                    29
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 51 of 90



choice between them cannot be clearly erroneous.” Hodges, 78 F.4th

at 1374–75 (quoting Morrissette-Brown v. Mobile Infirmary Med. Ctr.,

506 F.3d 1317, 1319 (11th Cir. 2007)). Whether a trial court’s findings rest

on fact evidence, expert testimony or a combination of the two, it is not

the role of appellate courts—“indeed, [they] are not permitted—to

reweigh or examine the evidence anew.” Bellitto v. Snipes, 935 F.3d

1192, 1208 (11th Cir. 2019).

                     SUMMARY OF ARGUMENT

     Defendants have failed to establish that the District Court’s

detailed, comprehensive factual findings are clearly erroneous. The

District Court carefully followed precedent and correctly determined that

each of the relevant factors supported a finding that Florida’s statute and

rules were motivated in substantial part by an improper discriminatory

purpose.

     In reaching these findings, the District Court gave proper deference

to the presumption of legislative good faith, finding that, on the present

record, the presumption was overcome. The court considered the evidence

on each of the Arlington Heights factors, determining that each of those

factors “squarely” support a finding of improper animus. Doe Order at 67.


                                    30
USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024   Page: 52 of 90



     These factors included the clear disparate impact of Florida’s ban

and restrictions, which affect only transgender Floridians. That

disparate impact was both foreseeable and known to decisionmakers. The

factors also included the historical background and specific sequence of

events leading up to the ban and restrictions, which were abruptly

adopted after Florida had, for many years, permitted these treatments

and paid for them with state Medicaid funds based on its determination

that they were established and medically appropriate care for

transgender people. The adoption of the Board rules was marked by

substantive and procedural departures from past rulemaking practices

and reliance on a flawed and biased GAPMS report designed to justify

the predetermined goal of banning or restricting access to this care. The

passage of the statute and rules was also accompanied by overt

expressions of hostility toward transgender people by officials at every

relevant level of government, and the State elected to bypass many less

restrictive alternatives in the service of enacting some of the most

extreme possible restrictions: a complete ban for adolescents and

unprecedented restrictions on access to care for adults. Each of the

District Court’s findings was supported by substantial evidence.


                                   31
USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024    Page: 53 of 90



     Applying   heightened    scrutiny    based    on    its     finding   of   a

discriminatory purpose, the District Court correctly determined that

Florida’s ban and restrictions do not substantially advance an important

governmental objective because they undermine, rather than advance,

the health of transgender people. Indeed, Defendants’ justifications for

the statute and rules were “largely pretextual,” Doe Order at 83, and,

absent animus, would not have been enacted. As such, the District Court

found that they lack even a rational basis. Because the challenged laws

fail even rational basis review, the District Court held that they also

violate the requirement of due process. The Court should affirm the

thoroughly documented findings and judgment of the District Court.

                             ARGUMENT

I. THE DISTRICT COURT FOLLOWED EKNES-TUCKER’S
   DIRECTIVE TO DETERMINE WHETHER PURPOSEFUL
   DISCRIMINATION WAS A MOTIVATING FACTOR FOR
   FLORIDA’S STATUTE AND RULES

     In Eknes-Tucker, this Court recognized that under the Fourteenth

Amendment’s Equal Protection Clause, “the regulation of a course of

treatment that only gender nonconforming individuals can undergo

would not trigger heightened scrutiny unless the regulation were a

pretext for discrimination against such individuals.” 80 F.4th at 1229–

                                   32
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 54 of 90



30. Consistent with longstanding Supreme Court precedent, this Court

has repeatedly held that a “facially-neutral law violates the Equal

Protection Clause if adopted with the intent to discriminate.” Young

Apartments, Inc. v. Town of Jupiter, 529 F.3d 1027, 1044 (11th Cir. 2008)

(quoting Johnson v. Governor of Florida, 405 F.3d 1214, 1222 (11th Cir.

2005) (en banc)).

     In determining that Florida’s statute and rules violate the

requirement of equal protection because they have both a discriminatory

impact and purpose, the District Court followed these binding

precedents, examining the extensive record before it to conclude that

there was “substantial evidence of animus in the adoption of the statute

and rules at issue here.” Doe Order at 38. See also Adams v. St. Johns

County, 57 F.4th 791, 810 (11th Cir. 2022) (en banc) (“[A] disparate

impact on a group offends the Constitution when an otherwise neutral

policy is motivated by ‘purposeful discrimination.’”) (quoting Pers. Adm’r

of Mass. v. Feeney, 442 U.S. 256, 274 (1979)).5


  5 Though Defendants assert otherwise, the District Court’s order was

based on application of Eknes-Tucker “as the currently binding law of the
circuit,” notwithstanding its discussion of other relevant equal protection
principles. Doe Order at 29. Surveying other pending challenges, the
District Court also correctly noted that Eknes-Tucker “might not be the
                                    33
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 55 of 90



     Defendants argue that the District Court suggested it could find

animus “without troubling itself” with an Arlington Heights analysis, Br.

at 30, but the order makes crystal clear that is not what the court did.

To the contrary, the District Court carefully reviewed the evidence

presented, making the “sensitive inquiry into such circumstantial and

direct evidence of intent” that is required by Arlington Heights. Doe

Order at 39–40 (citing Arlington Heights, 429 U.S. at 268); see also

Washington v. Davis, 426 U.S. 229, 242 (1976) (“[A]n invidious

discriminatory purpose may often be inferred from the totality of the

relevant facts . . . .”). Based on its painstaking review of the record, the

court found that each of the Arlington Heights factors “squarely favor the



federal judiciary’s last word” on the issue. Id. at 29. For this reason, the
court also considered several alternative grounds on which restrictions
on transgender medical care could be subject to heightened scrutiny
under the Equal Protection Clause, including Plaintiffs’ claim that such
restrictions facially discriminate based on sex and transgender status.
Although this Court has now denied rehearing en banc in Eknes-Tucker,
the District Court was prudent to acknowledge that further guidance on
the standard of review applicable to these claims will likely be
forthcoming. See L.W. v. Skrmetti, 73 F.4th 408 (6th Cir 2023), cert.
granted, 144 S. Ct. 2679 (June 24, 2024). Regardless, the District Court’s
judgment in this case rests on its detailed findings that the restrictions
at issue were the product of discriminatory animus against transgender
persons, even if the restrictions themselves are not facially
discriminatory.
                                    34
USCA11 Case: 24-11996     Document: 71     Date Filed: 10/02/2024   Page: 56 of 90



plaintiffs.” Doe Order at 67. Defendants cannot meet their high burden

of showing that these findings were so thoroughly lacking in evidentiary

support as to be clearly erroneous.

II.    THE DISTRICT COURT’S ANIMUS FINDINGS                                 ARE
       SUPPORTED BY SUBSTANTIAL EVIDENCE

      A. The District Court Correctly Applied the Presumption of
         Legislative Good Faith, and Its Finding that the
         Presumption Was Overcome Was Not Clearly Erroneous


       Defendants wrongly accuse the District Court of reversing the

presumption of legislative good faith. The District Court began its

analysis with the presumption. Doe Order at 38–39. But, as the District

Court recognized, a presumption is just that: a baseline against which

the evidentiary record is assessed. Arlington Heights makes clear that

when the evidence shows that “a discriminatory purpose has been a

motivating factor in the decision, this judicial deference is no longer

justified.” 429 U.S. at 265–66. Whether the presumption of good faith

holds in a particular case depends on the facts revealed by “a sensitive

inquiry into such circumstantial and direct evidence of intent as may be

available.” Id. at 266.




                                      35
USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024   Page: 57 of 90



      The District Court undertook the required inquiry, carefully

examining the origins and history of Florida’s efforts to ban or restrict

medical care for its transgender residents, the flawed and biased process

that led to the adoption of the Boards’ medical care ban, the openly

discriminatory statements of legislators and other officials involved in

passage of the statutory ban and other restrictions, and the failure to

adopt less restrictive alternatives that would have advanced Defendants’

asserted policy objectives. Assessing this record as a whole, and with

appropriate regard for the legislative role, the District Court concluded

that the presumption of good faith was overcome. The record did not

plausibly support multiple conclusions, as Defendants would have it. Br.

at 32. It supported only one: discriminatory purpose was a motivating

factor.

      However strong the presumption of good faith may be, it is not

effectively irrebuttable, as Defendants appear to contend. When a careful

review of the relevant facts reveals that a discriminatory purpose has

been “a motivating factor” for legislation—even if not the only motivating

factor—the presumption is overcome, and deference is no longer

warranted. Arlington Heights, 429 U.S. at 265–66. At that point,


                                   36
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 58 of 90



“discriminatory intent and effect are established,” and “‘the burden shifts

to the law’s defenders to demonstrate that the law would have been

enacted without’” the discriminatory purpose. Greater Birmingham

Ministries v. Sec’y for State of Alabama, 992 F.3d 1299, 1321 (11th Cir.

2021) (quoting Hunter v. Underwood, 471 U.S. 222, 227–28 (1985)).

       Once the burden shifts, a court must scrutinize any non-invidious

motivations to determine whether “they alone” can explain enactment of

the challenged law. North Carolina State Conf. of NAACP v. McCrory,

831 F.3d 204, 233 (4th Cir. 2016) (citing Arlington Heights, 429 U.S. at

265–66). Having found that animus is a motivating factor, judicial

deference is “no longer justified,” Arlington Heights, 429 U.S. at 265–66,

and the court must inquire into the actual purposes underlying a

statutory or regulatory scheme, McCrory, 831 F.3d at 233. To assess

whether a law would have been enacted without an invidious purpose,

the court must consider any non-invidious interest and “how well the law

furthers that interest.” McCrory at 233 (citing Hunter, 471 U.S. at 228–

33).

       The District Court did just that. It carefully analyzed whether a

majority of legislators with a non-invidious motivation to “ensure that


                                    37
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 59 of 90



patients receive only proper medical care” would have made the same

decision. Doe Order at 63. It rightly concluded they would not. Based on

substantial evidence, the Court found that an unbiased majority of

legislators could not have found that banning care furthered that goal.

Id. at 63–64 (finding that “defendants have not shown that a majority, if

not motivated also by anti-transgender animus, would have made the

same decision” to ban medical treatments “across the board for all

transgender adolescents without regard to their own circumstances,

without regard to the views of their own parents and treating

professionals, and contrary to the widely accepted professional standards

of care”).

      B.     The District Court’s Finding that the Impact of the
             Statute and Rules Falls Disproportionately on
             Transgender Floridians Was Clearly Correct

      Citing Eknes-Tucker’s holding that a statute banning medical

treatment for gender transition does not facially discriminate based on

sex or transgender status, Defendants argue that the District Court erred

in relying on the fact that “the impact of the challenged law falls only on

transgender[] [Floridians]. Nobody else.” Doe Order at 68; see Br. at 30–

31. Defendants’ argument misunderstands the Arlington Heights inquiry


                                    38
USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024   Page: 60 of 90



and ignores this Court’s identical determination when analyzing a

substantively similar law in Eknes-Tucker, 80 F.4th at 1229 (noting that

Alabama’s law affects “only gender nonconforming individuals”).

     By its nature, analysis of any government action under Arlington

Heights presumes that the challenged action is facially neutral. The

purpose of the Arlington Heights framework is to determine whether,

notwithstanding that facial neutrality, heightened scrutiny is warranted

because there is “proof that a discriminatory purpose has been a

motivating factor in the decision.” Arlington Heights, 429 U.S. at 265–66.

While “official action will not be held unconstitutional solely because it

results in a . . . disproportionate impact,” the Supreme Court has

instructed that whether official action “bears more heavily on” a

particular group is “an important starting point.” Id. at 264–65, 266

(quoting Washington v. Davis, 429 U.S. 229, 242 (1976)); Reno v. Bossier

Par. Sch. Bd., 520 U.S. 471, 489 (1997) (same). Consistent with that

precedent, this Court’s summary of the Arlington Heights factors begins

with “the impact of the challenged law.” Greater Birmingham Ministries,

992 F.3d at 1322. The District Court’s Arlington Heights analysis,

therefore, correctly began with the simple, and plainly accurate,


                                   39
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 61 of 90



observation that Florida’s law and rules affect only transgender

individuals and thus have a severely disparate impact on them.

     This is not, as Defendants assert, a form of “proxy discrimination”

analysis in which no further evidence of discriminatory intent is

required. Br. at 31. To the contrary, and as the District Court made clear,

determining whether a law or policy, as a factual matter, has a

disproportionate impact on an identified group is merely a first step. Doe

Order at 41. Having made that threshold determination here, the District

Court was required to undertake an “inquiry into such circumstantial

and direct evidence of intent as may be available.” Arlington Heights, 429

U.S. at 266. The District Court undertook that inquiry and determined

that each of the Arlington Heights factors strongly supported a finding of

discriminatory purpose. Doe Order at 67–70.

     Likewise,    nothing   in   Dobbs     v.   Jackson     Women’s     Health

Organization, 597 U.S. 215 (2022), holds that the District Court was

precluded from considering the simple and obvious fact that the law and

rules affect only transgender Floridians as one element of its Arlington

Heights discriminatory-purpose analysis. Contrary to Defendants’

assertions, Dobbs reaffirmed that regulations of medical care are subject


                                    40
USCA11 Case: 24-11996    Document: 71     Date Filed: 10/02/2024   Page: 62 of 90



to heightened scrutiny when the evidence shows they are a “pretex[t]

designed to effect an invidious discrimination . . . .” Dobbs, 597 U.S. at

236 (quoting Geduldig v. Aiello, 417 U.S. 484, 496, n. 20 (1974)). The

Supreme Court found no basis for a finding of discriminatory purpose in

the case of the abortion regulations before it in Dobbs, but it did not hold,

as Defendants suggest, that all health care regulations are immune from

careful scrutiny under the Equal Protection Clause when the record

includes abundant evidence of discriminatory purpose, as it does here.

     There is no credible argument that the District Court clearly erred

in finding that the impact of Florida’s statute and rules falls

disproportionately on transgender Floridians. The targeted nature of

these regulations is readily apparent from the fact that they prohibit or

restrict medical care that only transgender people need, as Defendants

concede. See Br. at 36 (stating that “only transgender individuals can be

diagnosed with gender dysphoria”). Florida’s statute bans or restricts

puberty blockers and hormones only when used “in order to affirm a

person’s perception of his or her sex if that perception is inconsistent with

the person’s sex” assigned at birth, Fla. Stat. § 456.001(9), and Florida’s

rules ban or restrict those medications only “for the treatment of gender


                                     41
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 63 of 90



dysphoria,” Fla. Admin. Code r. 64B8-9.019(1)(b), r. 64B15-14.014(1)(b).

As this Court stated in Eknes-Tucker, the only people affected by such

restrictions are transgender. Eknes-Tucker, 80 F.4th at 1229 (stating

that a law that bars medical treatments for gender transition “restricts

a specific course of medical treatment that, by the nature of things, only

gender nonconforming individuals may receive”). When a prohibition

falls exclusively on individuals in a particular group, it has—at the

least—a disparate impact on that group.

     C.    The District Court’s Conclusion that the Arlington
           Heights Factors Supported a Finding of Animus Is
           Supported by Substantial Evidence

     Contrary to Defendants’ contention, the District Court’s finding of

discriminatory purpose was based on far more than a few statements by

several legislators. The District Court carefully analyzed all the relevant

evidence in light of the Arlington Heights factors and concluded, based

on the entire record, that the challenged law and rules were motivated

by purposeful discrimination. In drawing its conclusion, the District

Court faithfully applied each factor as articulated by this Court in




                                    42
USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024   Page: 64 of 90



Greater Birmingham Ministries, 992 F.3d at 1321–22.6 Substantial

evidence supports the District Court’s finding that “these factors

squarely favor Plaintiffs.” Doe Order at 67.

           1. Impact, Foreseeability, and Knowledge

     The first, sixth, and seventh of the Arlington Heights factors are

closely intertwined and can be addressed together. In this case, as the

District Court explained, the impact of these laws falls solely on

transgender people, and that impact was both foreseeable and known to

the legislature and Boards. Id. at 40–41, 68–69.

     Defendants complain that there was no evidence about “the number

of people who’ll be diagnosed with gender dysphoria.” Br. at 36. But

neither equal protection nor an assessment under Arlington Heights

depends on the number of persons singled out for invidious

discrimination. If anything, discrimination against a small and

marginalized group that has been a frequent target of hostile government


  6 Defendants’ unsupported claim that the District Court failed to apply

the presumption of good faith to the evidence supporting each factor has
no merit. Defendants provide no example nor explanation, nor could they.
As the decision below demonstrates, the court examined each Arlington
Heights factor on its own merits and carefully weighed the evidence
relating to each, finding in each case that the evidence supported a
finding of purposeful discrimination. Doe Order at 67.
                                   43
USCA11 Case: 24-11996   Document: 71     Date Filed: 10/02/2024   Page: 65 of 90



action requires more vigilance from courts, not less. See City of Cleburne

v. Cleburne Living Ctr., 473 U.S. 432, 444–47 (1985). More to the point,

the evidence demonstrated that the Legislature and Boards were far less

concerned with how many transgender persons would be denied or

restricted from obtaining care than with ensuring that care would be

denied to, or restricted for, transgender persons in general.

     As shown above, there is no credible basis to claim that the burden

of Florida’s statute and rules falls on anyone other than transgender

Floridians, and this impact plainly was both foreseeable and known to

the legislators and Boards. The ban and restrictions originated with calls

by the Governor and Surgeon General to ban medical care specifically for

transgender Floridians. Doe Order at 56–57. The District Court’s

conclusion about the impact of the rules and statutes was supported by

ample evidence.

           2. Historical Background

     The District Court’s analysis next appropriately considered the

history of Florida’s regulation of medical care for transgender people. It

found, based on substantial evidence, that the banned or restricted

medical treatments are supported by well-established, evidence-based


                                    44
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 66 of 90



standards of care that are grounded in decades of clinical experience. Doe

Order at 11 (citing Dekker Defs.’ Exs. 16, 24, Dekker Doc.193-16, 193-24).

The District Court “credited the abundant testimony in this record that

these standards are widely followed by well-trained clinicians.” Id. (citing

Dekker Trial Tr., Dekker Doc.226, at 31; id. at 198; Dekker Trial Tr.,

Dekker Doc.227, at 50–52; id. at 106, 112–14; Dekker Trial Tr., Dekker

Doc.228, at 15; Doe Trial Tr., Doc.206, at 114; Doe Trial Tr., Doc.207, at

133).

        The District Court further found that for many years, Florida

permitted use of these medications and paid for them under the State's

Medicaid program. Doe Order at 4, 68 (citing Dekker, 679 F. Supp. 3d at

1280–81; Doe Trial Tr., Doc.207, at 131; Dekker Pls.’ Ex. 240, Dekker

Doc.181-4, at 9; Dekker Pls.’ Ex. 243, Dekker Doc.181-7, at 1). Defendants

offered no evidence of any flaw or deficiency in the medical evidence

supporting Florida’s previous approval of these treatments. The record

also included no evidence that these treatments had resulted in a single

complaint from any patient or adverse results for any individual in

Florida during the many years they had been available. Id. at 68. Despite




                                    45
USCA11 Case: 24-11996   Document: 71     Date Filed: 10/02/2024   Page: 67 of 90



that, “the Governor and Surgeon General initiated a process that led to

adoption of the rules at issue.” Doe Order at 52.

      This evidence stands in stark contradiction to Defendants’ claim

that there was no evidence concerning “Florida’s history of addressing

gender dysphoria or transgender individuals.” Br. at 36.7 Rather, as the

evidence plainly showed, “these treatments were allowed in Florida for

many years until the political winds changed” and transgender people

became the object of nationwide opprobrium. Doe Order at 68. The State’s

about-face came in response to animus-driven statements and actions by

political officials amid a wave of increasing government hostility toward

transgender individuals nationwide.




  7   The contemporary history described by the District Court is a far
cry from the kind of history of discrimination rejected by this Court in
Greater Birmingham. In Greater Birmingham, the plaintiffs’ reliance on
“the racist history of Alabama” was insufficient to establish
discriminatory intent because “the old, outdated intentions of previous
generations” could not “taint Alabama’s legislative action forevermore on
certain topics.” Greater Birmingham Ministries, 992 F.3d at 1325. Far
from relying on events from long ago, the evidence here demonstrated
that the Florida Governor, Surgeon General, Legislature and Boards
acted abruptly, beginning in April 2022, to radically alter the status quo
concerning medical care for transgender persons that had prevailed in
Florida in the immediate past.
                                    46
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 68 of 90



           3. Sequence of Events Leading to Passage

     The sequence of events leading to the passage of the challenged law

and rules support the District Court’s conclusions. As the District Court

found, the Boards did not undertake rulemaking because of any

complaints from patients or concern from medical professionals about the

safety or efficacy of these established treatments. Instead, the District

Court found, based on the evidence, that the Boards initiated rulemaking

due to political pressure from state officials set on banning or restricting

medical care for transgender people. “There were no complaints from

patients, no adverse results in Florida, just a political issue.” Doe Order

at 68. That conclusion is amply supported by the record. Id.

     By way of analyzing the relevant background and context, the

District Court also properly pointed to another statute that passed on the

same day as SB 254. Id. at 51. Florida Statutes section 1000.071(1)

establishes a “policy” that “a person’s sex is an immutable biological trait

and that it is false to ascribe to a person a pronoun that does not

correspond to such person’s [natal] sex,” effectively codifying as official

state policy the view repeatedly expressed by the sponsors of the statute




                                    47
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 69 of 90



(and other legislators), by the Governor, and by the Surgeon General that

transgender identity is false. Id. at 51–52.

     Defendants find fault with the District Court’s reliance on other

contemporaneous legislation demonstrating Florida officials’ disapproval

of transgender people, but the Supreme Court has counseled that “a

series of official actions taken for invidious purposes” and “[t]he specific

sequence of events leading up to the challenged decision” are important

factors indicating the presence of an improper discriminatory purpose.

Arlington Heights, 429 U.S. at 267. The fact that other legislation

enshrining the same negative views of transgender Floridians was

passed on the very same day as the ban and restrictions on medical care

is powerful evidence that anti-transgender sentiment was a motivating

factor for both bills. The trial record established exactly the sort of

contemporary climate of discrimination and disapproval that the

Supreme Court has held probative of discriminatory purpose.

     Here, the evidence of a contemporaneous discriminatory and biased

climate was overwhelming. As Florida and national media outlets have

reported, transgender people were “the subject of intense focus for state

lawmakers” in the past two years, with lawmakers in 2023 filing “at least


                                    48
USCA11 Case: 24-11996    Document: 71     Date Filed: 10/02/2024   Page: 70 of 90



18 bills that directly or indirectly target transgender Floridians.”8 In

addition to restricting access to health care, Florida enacted multiple

laws and administrative policies that single out transgender people for

adverse treatment in many areas of their lives.




  8 Kathryn Varn, A rundown of Florida bills causing ‘massive panic’ in

transgender, LGBTQ communities, Tallahassee Democrat (Mar. 15,
2023, 5:07 AM), https://www.tallahassee.com/story/news/politics/
2023/03/15/florida-legislature-18-bills-targeting-transgender-lgbtq-
community/70002777007/; Brett Wilkins, DeSantis Signs ‘Most Extreme
Slate of Anti-Trans Laws in Modern History, Common Dreams (May 17,
2023),       https://www.commondreams.org/news/desantis-transgender;
Brandon Girod, Four new Florida laws target transgender, broader
LGBTQ community. Here’s what they do, Pensacola News J., (May 17,
2023,       12:38       PM),        https://www.pnj.com/story/news/politics/
2023/05/17/desantis-signs-3-bills-targeting-transgender-gender-
affirming-care-bathrooms-drag-shows/70227878007/; Steve Contorno,
Florida bills that will alter the lives of transgender people await DeSantis’
signature,       CNN          (May          4,     2023,       4:27     PM),
https://www.cnn.com/2023/05/04/politics/ron-desantis-transgender-bills-
florida/; Florida Gov. DeSantis signs bills targeting drag shows, trans
rights, and care for transgender children, PBS (May 17, 2023, 2:09 PM),
https://www.pbs.org/newshour/politics/florida-gov-desantis-signs-bills-
targeting-drag-shows-trans-rights-and-care-for-transgender-children;
Carlos Suarez and Denise Royal, Florida’s private colleges and
universities must comply with rule requiring people to use bathrooms
aligning with their sex assigned at birth, CNN (Oct. 19, 2023, 11:46 PM),
https://www.cnn.com/2023/10/19/us/florida-private-college-trans-
bathroom-restriction; Tori Otten, Florida Passes Bill Allowing Trans
Kids to Be Taken From Their Families, The New Republic (May 4, 2023,
1:39     PM),     https://newrepublic.com/post/172444/florida-passes-bill-
allowing-trans-kids-taken-families.
                                     49
USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024   Page: 71 of 90



     The first of these laws was Senate Bill 1028, signed into law on May

28, 2021, banning transgender girls and women from playing on female

sports teams. See S.B. 1028, 2021 Leg., 123rd Reg. Sess. (Fla. 2021). The

following year, on March 28, 2022, the Legislature enacted House Bill

1557, banning instruction about gay or transgender people or issues from

Florida’s public schools. See H.B. 1557, 2022 Leg., 124th Reg. Sess. (Fla.

2022). On May 17, 2023, House Bill 1069 was signed into law, expanding

the scope of House Bill 1557 to include instruction up to eighth grade,

authorizing removal of books from school libraries, and prohibiting

transgender public school teachers and staff from using pronouns that

match who they are. See H.B. 1069, 2023 Leg., 125th Reg. Sess. (Fla.

2023). Senate Bill 1438, also signed into law on May 17, 2023, penalizes

drag shows. See S.B. 1438, 2023 Leg., 125th Reg. Sess. (Fla. 2023).

     The statute challenged in this action not only bans medical care for

transgender adolescents and restricts it for adults, but also bans any

public funding for such care. Fla. Stat. § 286.311. It also gives Florida

judges the power to take emergency jurisdiction over the custody of an

out-of-state child and award custody to a noncustodial parent if the child




                                   50
USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024   Page: 72 of 90



receives medical care for gender dysphoria. Fla. Stat. §§ 61.517(1)(c),

61.534(1).

     Taken together, these measures constitute a clear expression of

governmental hostility toward transgender Floridians and establish an

official public policy of disapproval of permitting transgender people to

live consistently with their gender identities—to the point of making it

official Florida policy that transgender identity is “false.” Yet, the

Defendants in this case, when forced to account for their actions before a

federal court, admitted that transgender identity is real, see Doe Order

at 8, thereby highlighting that the true purpose of these measures is to

harm transgender people. Few if any other states have enacted as many

anti-transgender measures as Florida, and none has enacted measures

as extreme as some of Florida’s new laws, including its unprecedented

imposition of restrictions on medical care even for transgender adults. 9

This extraordinary context strongly supports the District Court’s




9 C.A. Bridges, What can I do if I’m a transgender person living in
Florida? State erasing trans options, Tallahassee Democrat, May 18,
2023,        https://www.tallahassee.com/story/news/politics/2023/04/25/
floridas-trans-people-parents-of-trans-kids-see-options-steadily-
banned/70132161007/.
                                   51
USCA11 Case: 24-11996      Document: 71        Date Filed: 10/02/2024    Page: 73 of 90



conclusion that Florida’s statute and rules were the product of purposeful

discrimination.

      4. Procedural And Substantive Irregularities

      The rulemaking process included significant departures from the

procedures    ordinarily    followed      by     the   Boards.     The       procedural

irregularities included reliance on a rigged and unprecedented GAPMS

report, a Board rulemaking process initiated in an unprecedentedly top-

down and political manner, and Board members and staff marshalling

evidence and speakers in opposition to transgender health care for public

workshops and hearings. Doe Order at 53. The Boards’ implementation

of SB 254 also resulted in an emergency rulemaking process to create

informed-consent forms; even though emergency rules ordinarily remain

in effect for no more than six months, the statute abrogates that limit,

and so the forms that were rushed through the regulatory process have

remained in place for more than a year. Doe Order at 7 n.10, 54.

      As the Supreme Court has noted, in addition to procedural

irregularities,   “[s]ubstantive    departures          too   may       be    relevant,

particularly if the factors usually considered important by the

decisionmaker strongly favor a decision contrary to the one reached.”


                                       52
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 74 of 90



Arlington Heights, 429 U.S. at 267. Here, there were a number of

substantive departures from past norms: the flawed GAPMS report

which was commissioned despite the fact that the medical treatments at

issue had already been determined to be generally accepted and covered

by Medicaid, Doe Order at 68; the retention of outside consultants with

predetermined views to author the GAPMS report, id.; the Boards’

decision to move forward with rulemaking despite the absence of

evidence of complaints or adverse impacts on patients in Florida, id. at

64; and the Boards’ initial promulgation of informed consent forms which

purported to impose substantive restrictions on medical care for

transgender adults, despite the Boards’ lack of any authority to do so, id.

at 7 n.10.

     The result of this biased process was not only a ban on care for

transgender adolescents but the promulgation of informed-consent forms

that are

     untrue and misleading in substantial respects, omit any
     discussion of benefits, address not only risks of treatments a
     patient will receive but also of treatments the patient will not
     receive, include incomprehensible provisions no patient could
     be expected to understand, and are plainly intended to
     dissuade patients from obtaining gender-affirming care, not
     to ensure that patients are fully informed of the relevant risks
     and benefits.

                                    53
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 75 of 90




Id. at 54. Defendants have identified no case law holding that only a

violation of a statute or rule can serve as the basis for finding procedural

and substantive departures from practice when such departures are

thoroughly documented in the record, as they are here.

     5. Contemporary Statements and Actions of Key
        Legislators

     Defendants do not and cannot contest that the record is replete with

statements made by legislators and key decisionmakers that express

negative views of transgender people and that even the Defendants must

admit are “sensational.” Br. at 37. Based on the entire record and its

analysis of all Arlington Heights factors, including this extraordinary

legislative history, the Court found that “by the greater weight of the

evidence, . . . a majority of legislators in both houses and the Governor”

were motivated by animus. Doe Order at 55. The evidence was so strong

that the Court repeated several times throughout the opinion that “[a]

significant number of legislators—more likely than not a majority—were

motivated” by animus. Doe Order at 63; see also id. at 51, 65.

     Plainly, these statements were properly considered. Greater

Birmingham Ministries, 992 F.3d at 1322 (listing as the fifth Arlington


                                    54
USCA11 Case: 24-11996     Document: 71    Date Filed: 10/02/2024   Page: 76 of 90



Heights factors “the contemporary statements and actions of key

legislators”); see also Jacksonville Branch of NAACP v. City of

Jacksonville, No. 22-13544, 2022 WL 16754389, at *4 (11th Cir. Nov. 7,

2022) (“Because relevant, contemporaneous statements of key legislators

are to be assessed . . . we find no clear error in the court’s weighing of

that evidence.”)

      As described in detail above, the administrative and legislative

record cited by the District Court included repeated statements

expressing unvarnished hostility toward transgender people. These

included legislators’ references to transgender individuals as “mutants,”

“demons,” and “imps” and statements by the Governor, the Surgeon

General, and the House sponsors of the statute that “there’s no such thing

as someone being able to change their sex,” Doe Order at 43–44 (citing

Pls.’ Ex. 30, Doc.178-8 at 36, 93; Pls.’ Ex. 36, Doc.179-5 at 17–18; Pls.’ Ex.

57, Doc.181-7 at 6; Pls.’ Ex. 50, Doc.180-10 at 14–15; Pls.’ Ex. 15, Doc.177-

5; Pls.’ Ex. 69, Doc.182-9 at 3).

      As the Supreme Court has noted: “Outright admissions of

impermissible [discriminatory] motivation are infrequent and plaintiffs

often must rely upon other evidence.” Hunt, 526 U.S. at 553. Here, in


                                     55
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 77 of 90



contrast, as the District Court correctly noted, the legislative record is

riddled with such outright admissions—i.e., with overt expressions both

of “old-fashioned discriminatory animus” and of the view that

transgender people do not or should not exist. Doe Order at 42–45.

     In arguing that these statements are not indicative of legislative

intent, Defendant cites to cases such as Brnovich v. Democratic Nat’l

Comm., 594 U.S. 647 (2021) and League of Women Voters of Fla., Inc. v.

Fla. Sec’y of State, 66 F.4th 905 (11th Cir. 2023), which are inapposite.

In Brnovich, a single legislator made “unfounded and far-fetched

allegations of ballot collection fraud,” 594 U.S. at 688–89; in League of

Women Voters, this Court determined that one legislator’s observation

about a law’s potentially disparate impact was insufficient to

demonstrate the legislature’s discriminatory intent, 66 F.4th at 931–32.

In neither case, both of which alleged a discriminatory racial purpose, did

the legislator reference race. In stark contrast here, the record includes

multiple statements—by numerous, distinct legislators and key

decisionmakers—that refer to transgender people in overt and openly




                                    56
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 78 of 90



hostile terms or make wildly false claims about transgender medical

care.10

      In an effort to distract from the obvious, Defendants also criticize

the District Court for including in its analysis the “failure of other

members to call the[ir colleagues] out.” Br. at 51. As noted above, the

record was replete with biased statements that could hardly be fairly

characterized as “minimal.” Id. In addition, the fact that these

statements went unchecked by other legislators is significant and was

properly considered by the District Court. In other cases implicating

constitutional rights, the Supreme Court has made clear that a failure of

decisionmakers to counter such overt bias can be important evidence that

a constitutional infringement has occurred. See, e.g., Masterpiece



   10 United States v. O’Brien, 391 U.S. 367 (1968), is also inapt. There,

because the Supreme Court found that the law prohibiting the burning
of a draft certificate was directed at noncommunicative conduct, there
was no unconstitutional “effect” and thus no basis to inquire into
legislative intent. Id. at 384–85 (distinguishing O’Brien from an equal
protection case). In contrast, this is an equal protection case in which
both the discriminatory impact and motivation for the challenged
provisions are relevant. It also bears emphasis that there is a vast
difference between the multiple expressions of overt bias by
decisionmakers here and the brief statements of three members of
Congress in O’Brien. Id. at 385 (noting there was “little floor debate . . .
in either House.”).
                                    57
USCA11 Case: 24-11996      Document: 71     Date Filed: 10/02/2024   Page: 79 of 90



Cakeshop v. Colorado C.R. Comm’n, 584 U.S. 617, 635 (2018) (citing

comments of decisionmakers reflecting “clear and impermissible hostility

toward . . . sincere religious beliefs,” noting that “[t]he record shows no

objection to these comments from other commissioners,” and holding that

“[t]he official expressions of hostility . . . that were not disavowed . . . were

inconsistent with what the Free Exercise Clause requires”); Church of

Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 541 (1993)

(“find[ing] guidance” in Arlington Heights equal protection framework

and holding that “contemporaneous statements made by members of the

decisionmaking body” as well as “significant hostility exhibited by

residents, members of the city council, and other city officials toward the

Santeria religion” established that local ordinances were enacted to

suppress religious practice).

      For similar reasons, there was no error in the District Court’s

reliance on statements by the Governor, the Surgeon General, and other

officials as evidence of an improper discriminatory purpose underlying

Florida’s statute and rules. The Supreme Court has found similar

contemporaneous statements by officials other than legislators or agency

decisionmakers to be significant evidence of animus; such statements


                                       58
USCA11 Case: 24-11996    Document: 71     Date Filed: 10/02/2024   Page: 80 of 90



“bear on the question of discriminatory object” when they establish that

official action was undertaken amid a climate of hostility toward a

particular group. See Lukumi, 508 U.S. at 540–41 (relying on statements

of “members of the city council,” the “chaplain of the Hialeah Police

Department,” the “city attorney,” and “cheers” and “taunts” by the “public

crowd that attended the . . . meetings” as evidence of anti-religious

animus); Masterpiece, 584 U.S. at 639 (relying on State of Colorado’s

failure to disavow hostile comments “at any point in the proceedings”);

see also Fellowship of Christian Athletes v. San Jose Unified Sch. Dist.

Bd. of Educ., 82 F.4th 664, 692 (9th Cir. 2023) (en banc) (relying on

statements and actions of “students and teachers” as evidence of school

district’s anti-religious animus).

     6. Less Discriminatory Alternatives

     As to the last Arlington Heights factor, Defendants assert that the

District Court should have given them credit for not implementing even

more extreme measures. Florida could have gone further, they argue, by

adopting a total ban on medical care for adolescents with no

“grandfather” provision for those previously receiving treatment, or the

state could have banned private insurance coverage for gender transition


                                     59
USCA11 Case: 24-11996   Document: 71       Date Filed: 10/02/2024   Page: 81 of 90



medical care. Br. at 36. As the District Court correctly found, however,

the adolescent ban and adult restrictions go far beyond what was

necessary to address any genuine concern with the quality of care

available from providers in Florida. Doe Order at 64 (observing that

Legislature could have “limited care for minors to suitable facilities,”

“established prerequisites to gender-affirming care,” or “allowed such

care only as part of a properly conducted clinical trial,” rather than

adopting a ban). “If the Legislature or Boards truly believed gender-

affirming care was being or might be provided improperly in Florida—

despite the absence of complaints and despite the state’s inability, even

now, to find a single adversely affected Florida patient—the Legislature

and Boards could have restricted the care without banning it.” Doe Order

at 64.

     The Legislature rejected proposed amendments that would have

narrowed the scope of the restrictions and reduced their harm. See, e.g.,

Pls.’ Exs. 117, 122, Docs.186-2, 186-7 (failed amendments that would

have permitted provision of care in research settings or where deemed

essential to prevent serious harm).




                                      60
USCA11 Case: 24-11996    Document: 71     Date Filed: 10/02/2024   Page: 82 of 90



     Defendants have not shown, nor could they, that the District Court

clearly erred in its analysis of this factor. Where, as here, a Legislature

ignores readily available alternatives that would address its stated

concerns and opts instead for the most severe and restrictive measure,

its failure to adopt less restrictive options is strong evidence of

discriminatory purpose. The District Court properly concluded that this

factor supports Plaintiffs’ claim.

III. THE DISTRICT COURT PROPERLY HELD THAT THE
     CHALLENGED MEASURES FAIL BOTH HEIGHTENED
     SCRUTINY AND, BECAUSE THEY ARE BASED ON
     ANIMUS, EVEN RATIONAL BASIS REVIEW

     Having determined that substantial evidence supported a finding

of discriminatory purpose, the District Court properly placed the burden

on Defendants to show that Florida’s statute and rules would have been

adopted even in the absence of that purpose. Doe Order at 61 (citing

Hunter, 471 U.S. at 228 and Thompson v. Sec’y of State for Ala., 65 F.4th

1288, 1297 (11th Cir. 2023)). The District Court correctly found that they

failed to do so. Accordingly, the District Court correctly held that

Florida’s statutory and administrative ban on the challenged measures

were subject to, and failed, heightened scrutiny under the Equal

Protection Clause. Doe Order 70–82.

                                     61
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 83 of 90



     Defendants do not even attempt to argue, nor on this record could

they, that the law and Board rules survive heightened scrutiny. Under

that standard, the state must show “at least that the challenged

classification serves important government objectives and that the

discriminatory means employed are substantially related to the

achievement of those objectives.” Sessions v. Morales-Santana, 582 U.S.

47, 59 (2017) (brackets and internal quotation marks omitted). Here, as

the District Court found, the challenged measures fail this test because

rather than furthering the state’s asserted interest in protecting public

health and wellbeing, they undermine it, serving only to ban or impede

safe and effective medical care and exposing transgender patients to

serious harms.11 Doe Order at 71 74, 78. Rather than protecting

transgender people, these measures “cause needless suffering for a

substantial number of patients.” Id. at 71; see also id. at 74 (finding that




     11 Defendants similarly make no effort to challenge, nor is there any

basis to do so, the Court’s rejection of other potential interests as being
illegitimate including (1) protecting other people from transgender
people; (2) moral opposition to transgender people; and (3) prohibiting or
impeding a person from living consistent with their gender identity. Doe
Order at 74.
                                    62
USCA11 Case: 24-11996     Document: 71      Date Filed: 10/02/2024   Page: 84 of 90



the statute and rules include requirements that “diminish” rather than

improve “the quality of care”).

     In addition, the District Court also correctly held that most of the

restrictions on care for transgender adults and “grandfathered”

adolescents fail even rational basis review. Id. at 71–82 (citing Romer v.

Evans, 517 U.S. 620, 631 (1996)). As the District Court found, most of

these restrictions are so irrational—imposing significant burdens and

harms while serving no valid medical purpose—that absent animus they

would not have been enacted. Id. at 77 (excluding qualified providers

from providing care to adults “does not improve the quality of care” and

instead “limits the availability of care and increases its cost”); id.

(precluding other professionals from providing care under a treating

physician’s   direction   “is     either    extraordinarily     poor    statutory

craftsmanship or an animus-based roadblock intended to reduce access

to care”); id at 78 (requiring annual hand x-rays for all adolescent

patients serves no medical purpose, “pose[s] a health risk” and “increases

the patient’s out of-pocket costs”); id. at 79 (same true of requiring annual

bone density scans); id. at 80 (rule excluding qualified mental health

professionals from performing annual mental health exams serves no


                                       63
USCA11 Case: 24-11996    Document: 71     Date Filed: 10/02/2024   Page: 85 of 90



medical purpose, “departs from the accepted standard of care,” and serves

only to “reduce[] the ability of patients to receive gender-affirming care”);

id. at 80–81 (“no medical reason” for rules requiring various

examinations and tests for transgender adolescents); id. at 82 (state-

mandated consent forms “serve no valid medical purpose,” “interfere with

rather than promote an appropriate informed consent process,” impose

burdens and costs on patients,” and have “no other purpose than to

prevent or discourage patients from adhering to their gender identities”).

     Based on these findings, the District Court correctly held that these

measures violate the requirement of equal protection even under rational

basis review. Id. at 71–82. As the Supreme Court has repeatedly held, a

policy or law that serves no purpose other than to harm a particular

group violates the Equal Protection Clause under any standard of review.

See, e.g., Cleburne, 473 U.S. at 450 (invalidating zoning decision based

on “irrational prejudice” against persons with developmental disabilities

under rational basis review); United States Dep’t of Agric. v. Moreno, 413

U.S. 528 (1973) (invalidating statutory provision motivated by animosity

toward “hippies” under rational basis review).




                                     64
USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024   Page: 86 of 90



      As the District Court correctly held, that is the case with the

challenged restrictions here. Rather than improving the quality of care,

they diminish it; rather than benefitting transgender patients, they

expose them to increased medical risks and other serious harms caused

by foregoing “what is, for many, the most effective available treatment of

gender dysphoria.” Doe Order at 87.

IV.   THE DISTRICT COURT PROPERLY HELD THAT THE
      CHALLENGED     MEASURES   VIOLATE PLAINTIFF
      PARENTS’ RIGHT TO DUE PROCESS

      The District Court recognized that Eknes-Tucker forecloses any

argument that the plaintiff parents in this case have a fundamental right

to make medical decisions for their children and that plaintiffs’ due

process claim therefore “neither adds to nor detracts from the equal-

protection challenge to the ban on these treatments.” Doe Order at 83.

Accordingly, the District Court correctly held that the due process “claim

succeeds only because . . . the equal protection claim succeeds.” Id. For

the same reasons explained above, including that the statute and rules

are rooted in animus and therefore fail even rational basis review, the

District Court’s ruling should be affirmed. See Eknes-Tucker, 80 F. 4th at

1220 (holding that, under the Due Process Clause, laws that do not


                                   65
USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024   Page: 87 of 90



implicate a fundamental right must be rationally related to a legitimate

state interest).

                            CONCLUSION

      For the foregoing reasons, the District Court’s judgment should be

affirmed.




                                   66
USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024   Page: 88 of 90



                                        Respectfully submitted,

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                                   67
USCA11 Case: 24-11996    Document: 71    Date Filed: 10/02/2024   Page: 89 of 90



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     1. This brief complies with the type-volume limitation of Fed. R.

App. P. 32(a)(7)(B) because this brief contains 12,933 words, excluding

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     Dated: October 2, 2024

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                                    68
USCA11 Case: 24-11996   Document: 71    Date Filed: 10/02/2024   Page: 90 of 90



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     I hereby certify that on October 2, 2024, I electronically filed the

foregoing with the Clerk of the Court for the United States Court of

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                                   69
